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                                        NO. 21-1983



                    IN THE UNITED STATES COURT OF APPEALS
                             FOR THE FIRST CIRCUIT
                                   _______________

                              UNITED STATES OF AMERICA,
                                      APPELLEE

                                            V.

                                  DEREK SHEEHAN,
                                DEFENDANT-APPELLANT
                                  _______________

                   ON APPEAL FROM A JUDGMENT IN A CRIMINAL CASE,
                    ENTERED IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS
                                  _______________

                                    JOINT APPENDIX
                                   _______________

      Counsel for Derek Sheehan:                   RACHAEL S. ROLLINS
                                                   UNITED STATES ATTORNEY
      ROBERT L. SHEKETOFF, ESQ.
      LAW OFFICE OF ROBERT L. SHEKETOFF            DONALD C. LOCKHART
      1 MCKINLEY SQUARE                            ASSISTANT U.S. ATTORNEY
      BOSTON, MASSACHUSETTS 02109                  JOHN J. MOAKLEY U.S. COURTHOUSE
      (617) 367-3449                               1 COURTHOUSE WAY
                                                   SUITE 9200
                                                   BOSTON, MASSACHUSETTS 02210
                                                   (617) 748-3193
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                                                    No. 21-1983

                        UNITED STATES COURT OF APPEALS
                             FOR THE FIRST CIRCUIT
                              _____________________
                                        UNITED STATES OF AMERICA,
                                                APPELLEE

                                                            V.

                                              DEREK SHEEHAN,
                                           DEFENDANT-APPELLANT
                                         ________________________

                                              JOINT APPENDIX
                                         ________________________

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      3.    Government’s response to motion to suppress [ECF 66] ..................... JA: 020

      4.    Transcript of 9/20/2019 suppression hearing ....................................... JA: 047

      5.    District court’s order regarding further briefing on motion
            to suppress [ECF 73] ............................................................................ JA: 056

      6.    Transcript of 11/15/2019 suppression hearing [ECF 146] ................... JA: 059

      7.    Defendant’s motion to file additional arguments [ECF 115] ............... JA: 090

      8.    Defendant’s affidavit [ECF 117] .......................................................... JA: 097

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      10.   District court’s electronic order denying motions to suppress, to file
            additional arguments, and for reconsideration [ECF 120] ................... JA: 102

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                                                                                            APPEAL,VICTIM

                                    United States District Court
                                 District of Massachusetts (Boston)
                        CRIMINAL DOCKET FOR CASE #: 1:18-cr-10391-RGS-1


           Case title: USA v. Sheehan                               Date Filed: 10/25/2018

           Magistrate judge case number: 1:18-mj-06273-MPK          Date Terminated: 11/30/2021


           Assigned to: Judge Richard G. Stearns
           Appeals court case number: 21-1983
           USCA - First Circuit

           Defendant (1)
           Derek Sheehan                              represented by William Keefe
           TERMINATED: 11/30/2021                                    Law Office of William Keefe
                                                                     801 C Tremont Street
                                                                     Boston, MA 02118
                                                                     617-947-8483
                                                                     Fax: 617-445-8002
                                                                     Email: wkeefelaw@gmail.com
                                                                     LEAD ATTORNEY
                                                                     ATTORNEY TO BE NOTICED
                                                                     Designation: Retained

           Pending Counts                                              Disposition
           18:2251(a) and (e) -- SEXUAL                                540 months in the custody of the
           EXPLOITATION OF CHILDREN                                    Bureau of Prisons; 5 years supervised
           (1-3)                                                       release; $300 special assessment

           Highest Offense Level (Opening)
           Felony

           Terminated Counts                                           Disposition
           None

           Highest Offense Level (Terminated)
           None

           Complaints                                                  Disposition




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         18:2551(a) and (e)- Sexual exploitation
         of children



         Plaintiff
         USA                                          represented by Anne Paruti
                                                                     United States Attorney's Office MA
                                                                     1 Courthouse Way
                                                                     Suite 9200
                                                                     Boston, MA 02210
                                                                     (617) 748-3310
                                                                     Email: anne.paruti.lohnes@usdoj.gov
                                                                     LEAD ATTORNEY
                                                                     ATTORNEY TO BE NOTICED
                                                                     Designation: Assistant US Attorney

                                                                     Charles Dell'Anno
                                                                     United States Attorney's Office MA
                                                                     1 Courthouse Way
                                                                     Suite 9200
                                                                     Boston, MA 02210
                                                                     617-748-3161
                                                                     Email: charles.dell'anno@usdoj.gov
                                                                     ATTORNEY TO BE NOTICED


         Date Filed        #   Docket Text
         09/19/2018         2 ELECTRONIC NOTICE of Case Assignment as to Derek Sheehan; Magistrate
                              Judge M. Page Kelley assigned to case. (Danieli, Chris) [1:18-mj-06273-MPK]
                              (Entered: 09/19/2018)
         09/19/2018         3 COMPLAINT as to Derek Sheehan (1). (Attachments: # 1 Redacted affidavit,
                              (2)Sealed Affidavit) (Belmont, Kellyann). (Additional attachment(s) added on
                              9/19/2018: # 3 Sealed Affidavit) (Belmont, Kellyann). (Additional attachment
                              (s) added on 9/24/2018: # 3 JS45) (Belmont, Kellyann). [1:18-mj-06273-MPK]
                              (Entered: 09/19/2018)
         09/25/2018         6 ELECTRONIC NOTICE OF HEARING for Initial Appearance as to Derek
                              Sheehan. Initial Appearance set for 10/1/2018 02:00 PM in Courtroom 24
                              before Magistrate Judge M. Page Kelley. (Belmont, Kellyann) [1:18-mj-06273-
                              MPK] (Entered: 09/25/2018)
         09/25/2018         7 Writ of Habeas Corpus ad Prosequendum Issued as to Derek Sheehan for
                              10/1/2018 (Belmont, Kellyann) [1:18-mj-06273-MPK] (Entered: 09/25/2018)
         10/01/2018         8 Electronic Clerk's Notes for proceedings held before Magistrate Judge M. Page
                              Kelley: Initial Appearance as to Derek Sheehan held on 10/1/2018. Court goes
                              over the proceedings and advises the defendant of his rights. Court has
                              colloquy with defendant about whether or not he understands his right and the
                              charges pending against him. Attorney Keefe submits a notice of appearance.



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                             Government states charges and moves for detention and continuance.
                             Defendant is currently held pretrial in state custody. Defendant consents to a
                             voluntary order of detention without prejudice and waives a probable cause
                             hearing. Court has colloquy with defendant about the waivers and finds that
                             they are knowing and voluntary. Order to issue. Defendant remanded to state
                             custody. (Attorneys present: Anne Paruti for the government and William
                             Keefe for the defendant and Gina Affsa for Probation. )Court Reporter Name
                             and Contact or digital recording information: Digital Recording. To order a
                             copy of this Digital Recording, please go to
                             https://www.mad.uscourts.gov/caseinfo/transcripts.htm#audio-recordings . For
                             a transcript of this proceeding, contact Deborah Scalfani
                             bycalfani@mad.uscourts.gov. (Belmont, Kellyann) [1:18-mj-06273-MPK]
                             (Entered: 10/01/2018)
         10/01/2018       9 WAIVER of Preliminary Hearing by Derek Sheehan (Belmont, Kellyann)
                            [1:18-mj-06273-MPK] (Entered: 10/02/2018)
         10/01/2018      10 NOTICE OF ATTORNEY APPEARANCE: William Keefe appearing for
                            Derek Sheehan. Type of Appearance: Retained. (Belmont, Kellyann) [1:18-mj-
                            06273-MPK] (Entered: 10/02/2018)
         10/01/2018      11 Magistrate Judge M. Page Kelley: ORDER entered. ORDER ON
                            DETENTION MOTION as to Derek Sheehan (Belmont, Kellyann) [1:18-mj-
                            06273-MPK] (Entered: 10/02/2018)
         10/23/2018      12 Arrest Warrant Returned Executed on 10/1/2018 as to Derek Sheehan.
                            (Belmont, Kellyann) [1:18-mj-06273-MPK] (Entered: 10/24/2018)
         10/25/2018      13 INDICTMENT as to Derek Sheehan (1) count(s) 1-3. (Attachments: # 1 JS45)
                            (Geraldino-Karasek, Clarilde) (Entered: 10/25/2018)
         10/25/2018      14 ELECTRONIC NOTICE of Case Assignment as to Derek Sheehan; Judge
                            Richard G. Stearns assigned to case. If the trial Judge issues an Order of
                            Reference of any matter in this case to a Magistrate Judge, the matter will be
                            transmitted to Magistrate Judge M. Page Kelley. (Finn, Mary) (Entered:
                            10/25/2018)
         10/25/2018      15 Judge Richard G. Stearns: ELECTRONIC ORDER entered. Order Referring
                            Case to Magistrate Judge M. Page Kelley Reason for referral: Full Pretrial
                            Proceedings as to Derek Sheehan (Geraldino-Karasek, Clarilde) (Entered:
                            10/25/2018)
         10/30/2018      16 ELECTRONIC NOTICE OF HEARING as to Derek Sheehan Arraignment set
                            for 11/1/2018 03:00 PM in Courtroom 24 before Magistrate Judge M. Page
                            Kelley. (Belmont, Kellyann) (Entered: 10/30/2018)
         10/30/2018      17 Writ of Habeas Corpus ad Prosequendum Issued as to Derek Sheehan for
                            11/1/2018 (Belmont, Kellyann) (Entered: 10/30/2018)
         11/01/2018      18 Electronic Clerk's Notes for proceedings held before Magistrate Judge M. Page
                            Kelley: Arraignment as to Derek Sheehan (1) Count 1-3 held on 11/1/2018.
                            Defendant waives formal reading of indictment. Government states charges
                            and maximum penalties. Court has colloquy with defendant about whether or




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                             not he understands the pending charges. Not Guilty Plea entered by Derek
                             Sheehan on counts 1-3. Counsel agree to exclude the time under the Speedy
                             Trial Act. Order to issue. Detention Hearing set for 11/13/2018 02:00 PM in
                             Courtroom 24 before Magistrate Judge M. Page Kelley.(Attorneys present:
                             Anne Paruti for the government and William Keefe for defendant. )Court
                             Reporter Name and Contact or digital recording information: Digital
                             Recording. To order a copy of this Digital Recording, please go to
                             https://www.mad.uscourts.gov/caseinfo/transcripts.htm#audio-recordings . For
                             a transcript of this proceedi Scalfani by email at
                             deborah_scalfani@mad.uscourts.gov. (Belmont, Kellyann) (Entered:
                             11/01/2018)
         11/01/2018      19 ELECTRONIC NOTICE OF HEARING as to Derek Sheehan Initial Status
                            Conference set for 12/17/2018 10:45 AM in Courtroom 24 before Magistrate
                            Judge M. Page Kelley. (Belmont, Kellyann) (Entered: 11/01/2018)
         11/01/2018      20 Magistrate Judge M. Page Kelley: ORDER entered. ORDER ON
                            EXCLUDABLE DELAY as to Derek Sheehan. Time excluded from
                            10/25/2018 until 12/17/2018. Reason for entry of order on excludable delay: 18
                            USC 3161(h)(7)(A) Interests of justice. (Belmont, Kellyann) (Entered:
                            11/02/2018)
         11/08/2018      21 ELECTRONIC NOTICE OF RESCHEDULING as to Derek Sheehan:
                            Detention Hearing reset for 11/13/2018 02:30 PM in Courtroom 24 before
                            Magistrate Judge M. Page Kelley. Note: change is to time only!(Belmont,
                            Kellyann) (Entered: 11/08/2018)
         11/08/2018      22 Writ of Habeas Corpus ad Prosequendum Issued as to Derek Sheehan for
                            11/13/2018 (Belmont, Kellyann) (Entered: 11/08/2018)
         11/13/2018      23 MOTION for Release from Custody Defendant's Motion for Release on
                            Conditions as to Derek Sheehan. (Keefe, William) (Entered: 11/13/2018)
         11/13/2018      24 Assented to MOTION for Protective Order regarding discovery materials as to
                            Derek Sheehan by USA. (Attachments: # 1 proposed protective order)(Paruti,
                            Anne) (Entered: 11/13/2018)
         11/13/2018      25 Magistrate Judge M. Page Kelley: Protective ORDER entered granting 24
                            Motion for Protective Order as to Derek Sheehan (1) (Belmont, Kellyann)
                            (Entered: 11/13/2018)
         11/13/2018      28 Electronic Clerk's Notes for proceedings held before Magistrate Judge M. Page
                            Kelley: Detention Hearing as to Derek Sheehan held on 11/13/2018. Defendant
                            present. Parties agree to proceed by way of proffer. Court hears argument on
                            detention. Government submits motion to seal hearing exhibits. Motion
                            allowed. Court will return the exhibits to the government after it has reviewed
                            them. Government moves to admit exhibits 1-7. No objection. Admitted. Court
                            takes the matter under advisement. Defendant remanded to state custody.
                            (Attorneys present: Anne Paruti for the government and William Keefe for
                            defendant. Jennifer Dailey for Probation. )Court Reporter Name and Contact or
                            digital recording information: Digital Recording. To order a copy of this
                            Digital Recording, please go to




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                             https://www.mad.uscourts.gov/caseinfo/transcripts.htm#audio-recordings . For
                             a transcript of this proceeding, contact Deborahat
                             deborah_scalfani@mad.uscourts.gov. (Belmont, Kellyann) (Entered:
                             11/13/2018)
         11/13/2018      31 Magistrate Judge M. Page Kelley: ORDER entered. ORDER OF DETENTION
                            PENDING TRIAL as to Derek Sheehan (Belmont, Kellyann) (Entered:
                            11/13/2018)
         11/13/2018      32 Magistrate Judge M. Page Kelley: ELECTRONIC ORDER entered denying 23
                            Motion for Release from Custody as to Derek Sheehan (1). See order # 31 .
                            (Belmont, Kellyann) (Entered: 11/13/2018)
         11/28/2018      33 MOTION to Revoke Defendant's Motion for Revocation or Amendment of
                            Order and Request for Release on Conditions as to Derek Sheehan.
                            (Attachments: # 1 Order of Detention Pending Trial)(Keefe, William) (Entered:
                            11/28/2018)
         12/12/2018      34 Judge Richard G. Stearns: ORDER entered denying 33 Motion for Revocation
                            or Amendment of Order and Request for Release on Conditions as to Derek
                            Sheehan (1). Denied, for the reasons stated by the Magistrate Judge. (Maynard,
                            Timothy) (Entered: 12/12/2018)
         12/17/2018      35 ELECTRONIC NOTICE CANCELLING HEARING as to Derek Sheehan. At
                            request of counsel the status hearing set for 12/17/18 at 10:45am is cancelled
                            and will be rescheduled. (Belmont, Kellyann) (Entered: 12/17/2018)
         12/17/2018      36 STATUS REPORT and request to cancel hearing by USA as to Derek
                            Sheehan (Paruti, Anne) (Entered: 12/17/2018)
         12/17/2018      37 Magistrate Judge M. Page Kelley: ORDER entered. ORDER ON
                            EXCLUDABLE DELAY as to Derek Sheehan. Time excluded from
                            12/17/2018 until 1/22/2019. Reason for entry of order on excludable delay: 18
                            USC 3161(h)(7)(A) Interests of justice. (Belmont, Kellyann) (Entered:
                            12/17/2018)
         12/17/2018      38 ELECTRONIC NOTICE OF HEARING as to Derek Sheehan Interim Status
                            Conference set for 1/22/2019 10:10 AM in Courtroom 24 before Magistrate
                            Judge M. Page Kelley. (Belmont, Kellyann) (Entered: 12/17/2018)
         01/22/2019      39 ELECTRONIC NOTICE CANCELLING HEARING as to Derek Sheehan. At
                            request of counsel the status conference set for 1/22/19 in front of Judge Kelley
                            is cancelled and will be rescheduled. (Belmont, Kellyann) (Entered:
                            01/22/2019)
         01/22/2019      40 ELECTRONIC NOTICE OF HEARING as to Derek Sheehan: Interim Status
                            Conference set for 1/30/2019 03:15 PM in Courtroom 24 before Magistrate
                            Judge M. Page Kelley. (Belmont, Kellyann) (Entered: 01/22/2019)
         01/22/2019      41 Magistrate Judge M. Page Kelley: ORDER entered. ORDER ON
                            EXCLUDABLE DELAY as to Derek Sheehan. Time excluded from 1/22/2019
                            until 1/30/2019. Reason for entry of order on excludable delay: 18 USC 3161
                            (h)(7)(A) Interests of justice. (Belmont, Kellyann) (Entered: 01/22/2019)




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         01/30/2019      42 Electronic Clerk's Notes for proceedings held before Magistrate Judge M. Page
                            Kelley: Interim Status Conference as to Derek Sheehan held on 1/30/2019.
                            Counsel ask for a further date to resolve discovery issues. Final Status
                            Conference set for 3/21/2019 12:00 PM in Courtroom 24 before Magistrate
                            Judge M. Page Kelley. Counsel agree to exclude the time under the Speedy
                            Trial Act. Order to issue. (Attorneys present: Anne Paruti for the government
                            and William Keefe for defendant.. )Court Reporter Name and Contact or
                            digital recording information: Digital Recording. To order a copy of this
                            Digital Recording, please go to http://www.mad.uscourts.gov/attorneys/Mae-
                            Audio.htm . For a transcript of this proceeding, contact Deborah Scalfani by
                            email at deborah_scalfani@mad.uscourts.gov. (Belmont, Kellyann) (Entered:
                            01/30/2019)
         01/30/2019      43 Magistrate Judge M. Page Kelley: ORDER entered. ORDER ON
                            EXCLUDABLE DELAY as to Derek Sheehan. Time excluded from 1/30/2019
                            until 3/21/2019. Reason for entry of order on excludable delay: 18 USC 3161
                            (h)(7)(A) Interests of justice. (Belmont, Kellyann) (Entered: 01/30/2019)
         03/21/2019      44 Joint MOTION to Continue status hearing as to Derek Sheehan by USA.
                            (Paruti, Anne) (Entered: 03/21/2019)
         03/21/2019      45 Magistrate Judge M. Page Kelley: ELECTRONIC ORDER entered granting 44
                            Motion to Continue as to Derek Sheehan. The conference on March 21, 2019 is
                            cancelled and will be rescheduled. (1) (Kelley, M.) (Entered: 03/21/2019)
         03/21/2019      46 Magistrate Judge M. Page Kelley: ORDER entered. ORDER ON
                            EXCLUDABLE DELAY as to Derek Sheehan. Time excluded from 3/21/2019
                            until 4/18/2019. Reason for entry of order on excludable delay: 18 USC 3161
                            (h)(7)(A) Interests of justice. Final Status Conference set for 4/18/2019
                            11:45 AM in Courtroom 24 before Magistrate Judge M. Page Kelley.
                            (Belmont, Kellyann) (Entered: 03/21/2019)
         04/18/2019      47 Joint MOTION to Continue and exclude time as to Derek Sheehan by USA.
                            (Paruti, Anne) (Entered: 04/18/2019)
         04/18/2019      48 Magistrate Judge M. Page Kelley: ELECTRONIC ORDER entered granting 47
                            Motion to Continue as to Derek Sheehan (1). A new date will be set. (Belmont,
                            Kellyann) (Entered: 04/18/2019)
         04/29/2019      49 ELECTRONIC NOTICE OF HEARING as to Derek Sheehan Final Status
                            Conference set for 5/14/2019 11:00 AM in Courtroom 24 before Magistrate
                            Judge M. Page Kelley. (Belmont, Kellyann) (Entered: 04/29/2019)
         05/01/2019      50 Magistrate Judge M. Page Kelley: ORDER entered. ORDER ON
                            EXCLUDABLE DELAY as to Derek Sheehan. Time excluded from 4/18/2019
                            until 5/14/2019. Reason for entry of order on excludable delay: 18 USC 3161
                            (h)(7)(A) Interests of justice. (Belmont, Kellyann) (Entered: 05/01/2019)
         05/14/2019      51 Electronic Clerk's Notes for proceedings held before Magistrate Judge M. Page
                            Kelley: Final Status Conference as to Derek Sheehan held on 5/14/2019.
                            Discovery is complete and the parties ask for the case to be sent up to the
                            District Court. It is not clear if a trial will be necessary but if it is it would last
                            approximately 1-2 weeks. Defendant will file motion to suppress by 6/14/2019,



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                              government's response due by 6/28/2019 and defendant's reply (if any) due by
                              7/12/2019. Counsel agree to exclude the time until the date in front of Judge
                              Stearns under the Speedy Trial Act. Order to issue. (Attorneys present: Anne
                              Paruti for the government and William Keefe for defendant.. )Court Reporter
                              Name and Contact or digital recording information: Digital Recording. To
                              order a copy of this Digital Recording, please go to
                              https://www.mad.uscourts.gov/caseinfo/transcripts.htm#audio-recordings . this
                              proceeding, contact Deborah Scalfani by email at
                              deborah_scalfani@mad.uscourts.gov. (Belmont, Kellyann) (Entered:
                              05/14/2019)
          05/14/2019      52 Magistrate Judge M. Page Kelley: ORDER entered. ORDER ON
                             EXCLUDABLE DELAY as to Derek Sheehan. Reason for entry of order on
                             excludable delay: 18 USC 3161(h)(7)(A) Interests of justice. FINAL STATUS
                             REPORT as to Derek Sheehan (Belmont, Kellyann) (Entered: 05/14/2019)
          05/14/2019      53 Case as to Derek Sheehan no longer referred to Magistrate Judge M. Page
                             Kelley. (Belmont, Kellyann) (Entered: 05/14/2019)
          06/24/2019      59 Assented to MOTION for Extension of Time to July 12, 2019 to File
                             Response/Reply to Defendant's motions to suppress and for Franks hearing as
                             to Derek Sheehan by USA. (Paruti, Anne) (Entered: 06/24/2019)
          06/26/2019      60 Judge Richard G. Stearns: ELECTRONIC ORDER entered granting in part 59
                             Motion for Extension of Time to File Response/Reply as to Derek Sheehan (1).
                             The Court will schedule a hearing after response have been filed, if necessary.
                             (Maynard, Timothy) (Entered: 06/26/2019)
          07/11/2019      61 Assented to MOTION for Extension of Time to July 16, 2019 to File response
                             to defendant's motions as to Derek Sheehan by USA. (Paruti, Anne) (Entered:
                             07/11/2019)
          07/12/2019      62 Judge Richard G. Stearns: ELECTRONIC ORDER entered granting 61 Motion
                             for Extension of Time to July 16, 2019 to File response to defendant's motions
                             as to Derek Sheehan (1) (Maynard, Timothy) (Entered: 07/12/2019)
          07/15/2019      63 Assented to MOTION for Extension of Time to File response to defendant's
                             motions as to Derek Sheehan by USA. (Paruti, Anne) (Entered: 07/15/2019)
          07/16/2019      64 Judge Richard G. Stearns: ELECTRONIC ORDER entered granting 63 Motion
                             for Extension of Time response to defendant's motions as to Derek Sheehan (1)
                             (Maynard, Timothy) (Entered: 07/16/2019)
          07/24/2019      65 Assented to MOTION for Leave to File as to Derek Sheehan by USA. (Paruti,
                             Anne) (Entered: 07/24/2019)
          07/24/2019      66 Response as to Derek Sheehan: (Paruti, Anne) (Entered: 07/24/2019)
          07/25/2019      67 Judge Richard G. Stearns: ELECTRONIC ORDER entered granting 65 Motion
                             for Leave to File Under Seal. (Maynard, Timothy) (Entered: 07/25/2019)
          08/08/2019      69 Set Hearings re Motion in case as to Derek Sheehan 58 MOTION for Franks
                             Hearing, 57 MOTION to Suppress. Motion Hearing (Non-evidentiary) set for




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                               9/20/2019 03:00 PM in Courtroom 21 before Judge Richard G. Stearns.
                               (Maynard, Timothy) (Entered: 08/08/2019)
          09/20/2019      73 Judge Richard G. Stearns: ORDER entered. MEMORANDUM AND ORDER
                             on Defendant's Motion to Suppress. (Maynard, Timothy) (Entered:
                             09/20/2019)
          09/23/2019      74 Judge Richard G. Stearns: ELECTRONIC ORDER entered. Renewed
                             MOTION to Suppress due October 7, 2019 and any response is due October
                             21, 2019. (Maynard, Timothy) (Entered: 09/23/2019)
          09/23/2019      80 Judge Richard G. Stearns: ELECTRONIC ORDER entered denying without
                             prejudice 57 Motion to Suppress as to Derek Sheehan (1). (Maynard, Timothy)
                             (Entered: 09/23/2019)
          09/23/2019      81 Judge Richard G. Stearns: ELECTRONIC ORDER entered denying without
                             prejudice 58 MOTION for a Franks Hearing and Incorporated Memorandum of
                             Law as to Derek Sheehan. (Maynard, Timothy) (Entered: 09/23/2019)
          10/22/2019      85 Assented to MOTION for Extension of Time to October 22, 2019 to File
                             response as to Derek Sheehan by USA. (Paruti, Anne) (Entered: 10/22/2019)
          10/22/2019      86 Judge Richard G. Stearns: ELECTRONIC ORDER entered granting 85 Motion
                             for Extension of Time as to Derek Sheehan (1) (Maynard, Timothy) (Entered:
                             10/22/2019)
          10/22/2019      87 Memorandum regarding Government's response to defendant's supplemental
                             memorandum as to Derek Sheehan (Paruti, Anne) (Entered: 10/22/2019)
          11/01/2019      88 Set Motion Hearing (Non-evidentiary) in case as to Derek Sheehan: Motion
                             Hearing set for 11/15/2019 10:00 AM in Courtroom 21 before Judge Richard
                             G. Stearns. (Maynard, Timothy) (Entered: 11/01/2019)
          11/15/2019      89 Electronic Clerk's Notes for proceedings held before Judge Richard G. Stearns:
                             Motion Hearing as to Derek Sheehan held on 11/15/2019 re Motion to
                             Suppress. Court hears argument from the parties; Motion taken under
                             advisement. Defendant remanded to the custody of USMS. (Attorneys present:
                             Paruti for USA; Keefe for the defendant. )Court Reporter Name and Contact or
                             digital recording information: James Gibbons at jamesgibbonsrpr@gmail.com.
                             (Maynard, Timothy) (Entered: 11/15/2019)
          01/28/2020      90 Judge Richard G. Stearns: ORDER entered. MEMORANDUM AND ORDER
                             on Dkt #57 Motion to Suppress and #58 Motion for a Franks Hearing. (Zierk,
                             Marsha) (Entered: 01/28/2020)
          02/28/2020      91 Set Hearings as to Derek Sheehan: Rule 11 Hearing set for 4/14/2020 03:00
                             PM in Courtroom 21 before Judge Richard G. Stearns. (Maynard, Timothy)
                             (Entered: 02/28/2020)
          04/10/2020      92 Reset Hearings as to Derek Sheehan: Rule 11 Hearing set for 7/16/2020 10:00
                             AM in Courtroom 21 before Judge Richard G. Stearns. (Maynard, Timothy)
                             (Entered: 04/10/2020)
          05/08/2020      93




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                              MOTION for Release from Custody Defendant's Motion to Reconsider Release
                              for Covid-19 Reasons as to Derek Sheehan. (Keefe, William) (Entered:
                              05/08/2020)
          05/13/2020      94 Opposition by USA as to Derek Sheehan re 93 MOTION for Release from
                             Custody Defendant's Motion to Reconsider Release for Covid-19 Reasons
                             (Attachments: # 1 McDonald declaration 4.21.20, # 2 McDonald declaration
                             5.6.20, # 3 Baker declaration 4.15.20)(Paruti, Anne) (Entered: 05/13/2020)
          05/18/2020      95 Judge Richard G. Stearns: ELECTRONIC ORDER entered denying 93 Motion
                             for Release from Custody as to Derek Sheehan (1). The motion for
                             consideration of the detention order is DENIED. I find no change of
                             circumstances, or change in the state of defendant's health, that outweigh the
                             risks to the community that would be posed by his release considering the
                             predatory nature of the offenses with which he is charged and the difficulty in
                             the present environment of providing close supervision of defendants released
                             to the community. I am also persuaded by Sheriff McDonald's Declaration that
                             the Plymouth County Correctional Facility has implemented appropriate
                             measures to protect the health of the staff and the persons detained at the
                             facility. (Maynard, Timothy) (Entered: 05/18/2020)
          07/15/2020      96 MOTION to Continue Motion to Continue Rule 11 Hearing as to Derek
                             Sheehan. (Keefe, William) (Entered: 07/15/2020)
          07/15/2020      97 Judge Richard G. Stearns: ELECTRONIC ORDER entered granting 96 Motion
                             to Continue as to Derek Sheehan (1): Rule 11 Hearing set for 10/14/2020 03:00
                             PM in Courtroom 21 before Judge Richard G. Stearns. (Maynard, Timothy)
                             (Entered: 07/15/2020)
          10/09/2020     100 MOTION to Continue Motion to Continue Rule 11 Hearing as to Derek
                             Sheehan. (Keefe, William) (Entered: 10/09/2020)
          10/09/2020     101 Judge Richard G. Stearns: ELECTRONIC ORDER entered granting 100
                             Motion to Continue as to Derek Sheehan (1): Rule 11 Hearing set for
                             12/10/2020 10:00 AM in Courtroom 21 before Judge Richard G. Stearns.
                             (Maynard, Timothy) (Entered: 10/09/2020)
          12/09/2020     102 ELECTRONIC NOTICE CANCELING HEARING as to Derek Sheehan. Rule
                             11 Hearing set for 12/10/2020 10:00 AM is CANCELED. The Court will issue
                             a date for a status conference. (Maynard, Timothy) (Entered: 12/09/2020)
          01/14/2021     103 Judge Richard G. Stearns: ORDER entered. PRETRIAL ORDER as to Derek
                             Sheehan: Final Status Conference set for 4/2/2021 02:00 PM in Courtroom 21
                             before Judge Richard G. Stearns. Jury Trial set for 4/5/2021 09:00 AM in
                             Courtroom 21 before Judge Richard G. Stearns. (Maynard, Timothy) (Entered:
                             01/14/2021)
          02/08/2021     104 NOTICE OF ATTORNEY APPEARANCE Charles Dell'Anno appearing for
                             USA. (Dell'Anno, Charles) (Entered: 02/08/2021)
          02/24/2021     105 Judge Richard G. Stearns: ORDER entered. PRETRIAL ORDER as to Derek
                             Sheehan: Jury Trial set for 7/29/2021 09:00 AM in Courtroom 21 before Judge
                             Richard G. Stearns. (Maynard, Timothy) (Entered: 02/24/2021)




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          02/24/2021     106 Set Hearings as to Derek Sheehan: Final Pretrial Conference set for 7/27/2021
                             03:00 PM in Courtroom 21 before Judge Richard G. Stearns. (Maynard,
                             Timothy) (Entered: 02/24/2021)
          04/01/2021     107 ELECTRONIC NOTICE CANCELING HEARING as to Derek Sheehan.
                             Final Status Conference set for 4/2/2021 02:00 PM is CANCELED due to
                             scheduling of trial. (Maynard, Timothy) (Entered: 04/01/2021)
          06/03/2021     108 MOTION in Limine to Admit Evidence of Defendant's Other Crimes of Child
                             Molestation Pursuant to Rules 414 and 404(b) as to Derek Sheehan by USA.
                             (Paruti, Anne) (Entered: 06/03/2021)
          06/03/2021     109 MOTION to Seal exhibits to Motion in Limine as to Derek Sheehan by USA.
                             (Paruti, Anne) (Entered: 06/03/2021)
          06/09/2021     111 Judge Richard G. Stearns: ELECTRONIC ORDER entered granting 109
                             Motion to Seal as to Derek Sheehan (1). (Maynard, Timothy) (Entered:
                             06/09/2021)
          06/22/2021     112 MOTION for Hearing on Government's Motion in Limine to Admit Evidence of
                             Defendant's Other Crimes of Child Molestation Pursuant to Rules 414 and 404
                             (b) as to Derek Sheehan by USA. (Paruti, Anne) (Entered: 06/22/2021)
          06/23/2021     113 Judge Richard G. Stearns: ORDER entered granting 108 MOTION in Limine
                             to Admit Evidence of Defendant's Other Crimes of Child Molestation Pursuant
                             to Rules 414 and 404(b) as to Derek Sheehan by USA. (Maynard, Timothy)
                             (Entered: 06/23/2021)
          06/23/2021     114 Judge Richard G. Stearns: ELECTRONIC ORDER entered finding as moot
                             112 MOTION for Hearing on Government's Motion in Limine to Admit
                             Evidence of Defendant's Other Crimes of Child Molestation Pursuant to Rules
                             414 and 404(b) as to Derek Sheehan by USA per ORDER (D. 113). (Maynard,
                             Timothy) (Entered: 06/23/2021)
          07/02/2021     115 MOTION to Suppress Motion to File Additional Arguments Related to a
                             Previously Filed Motion to Suppress and Motion to Reconsider as to Derek
                             Sheehan. (Keefe, William) (Entered: 07/02/2021)
          07/02/2021     116 MOTION to Continue Motion to Continue Trial as to Derek Sheehan. (Keefe,
                             William) (Entered: 07/02/2021)
          07/02/2021     117 AFFIDAVIT by Derek Sheehan (Keefe, William) (Entered: 07/02/2021)
          07/06/2021     118 Opposition by USA as to Derek Sheehan re 116 MOTION to Continue Motion
                             to Continue Trial (Paruti, Anne) (Entered: 07/06/2021)
          07/06/2021     119 Opposition by USA as to Derek Sheehan re 115 MOTION to Suppress Motion
                             to File Additional Arguments Related to a Previously Filed Motion to Suppress
                             and Motion to Reconsider (Paruti, Anne) (Entered: 07/06/2021)
          07/08/2021     120 Judge Richard G. Stearns: ELECTRONIC ORDER entered denying 115
                             MOTION to Suppress Motion to File Additional Arguments Related to a
                             Previously Filed Motion to Suppress and Motion to Reconsider as to Derek
                             Sheehan. (Maynard, Timothy) (Entered: 07/08/2021)




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          07/08/2021     121 Judge Richard G. Stearns: ELECTRONIC ORDER entered denying 116
                             MOTION to Continue Motion to Continue Trial as to Derek Sheehan.
                             (Maynard, Timothy) (Entered: 07/08/2021)
          07/19/2021     122 Set Hearings as to Derek Sheehan

                              This hearing will be conducted by video conference. Counsel of record will
                              receive a video conference invite at the email registered in CM/ECF. If you
                              have technical or compatibility issues with the technology, please notify the
                              session's courtroom deputy as soon as possible.

                              Access to the hearing will be made available to the media and public. In order
                              to gain access to the hearing, you must sign up at the following address:
                              https://forms.mad.uscourts.gov/courtlist.html.

                              For questions regarding access to hearings, you may refer to the Court's general
                              orders and public notices available on www.mad.uscourts.gov or contact
                              media@mad.uscourts.gov.

                              Rule 11 Hearing set for 7/20/2021 02:00 PM in Courtroom 21 before Judge
                              Richard G. Stearns. (Maynard, Timothy) (Entered: 07/19/2021)
          07/20/2021     123 PLEA AGREEMENT as to Derek Sheehan (Paruti, Anne) (Entered:
                             07/20/2021)
          07/20/2021     124 PLEA AGREEMENT as to Derek Sheehan. (Maynard, Timothy) (Entered:
                             07/20/2021)
          07/20/2021     125 Electronic Clerk's Notes for proceedings held before Judge Richard G. Stearns:
                             Rule 11 Hearing as to Derek Sheehan held on 7/20/2021. Case called;
                             Defendant pleads guilty conditionally to counts 1-3 of the indictment;
                             Defendant sworn; Hold holds colloquy with the defendant; Government
                             summarizes facts of the case and outlines the plea agreement; Counsel is
                             directed to reach out to the clerk to schedule sentencing date. (Attorneys
                             present: Paruti and Dell'Anno for USA; Keefe for Sheehan. )Court Reporter
                             Name and Contact or digital recording information: James Gibbons at
                             jamesgibbonsrpr@gmail.com. (Maynard, Timothy) (Entered: 07/21/2021)
          07/23/2021     126 Set Hearings as to Derek Sheehan: Sentencing set for 11/16/2021 10:00 AM in
                             Courtroom 21 before Judge Richard G. Stearns. (Maynard, Timothy) (Entered:
                             07/23/2021)
          07/30/2021          Terminate Deadlines and Hearings as to Derek Sheehan: Jury Trial cancelled.
                              (Pacho, Arnold) (Entered: 07/30/2021)
          10/15/2021     127 MOTION for Forfeiture of Property Motion for Preliminary Order of
                             Forfeiture and Proposed Preliminary Order of Forfeiture as to Derek Sheehan
                             by USA. (Attachments: # 1 Proposed Preliminary Order of Forfeiture)(Head,
                             Carol) (Entered: 10/15/2021)
          11/10/2021     128 Reset Hearings as to Derek Sheehan: Sentencing set for 11/23/2021 01:00 PM
                             in Courtroom 21 (In person only) before Judge Richard G. Stearns. (Maynard,
                             Timothy) (Entered: 11/10/2021)




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          11/19/2021     129 SENTENCING MEMORANDUM by Derek Sheehan (Attachments: # 1 Letter
                             of Support, # 2 Letter of Support, # 3 Letter of Support, # 4 Letter of Support,
                             # 5 Letter of Support)(Keefe, William) (Entered: 11/19/2021)
          11/19/2021     131 MOTION to Seal Document (victim impact statements) as to Derek Sheehan
                             by USA. (Paruti, Anne) (Entered: 11/19/2021)
          11/19/2021     132 SENTENCING MEMORANDUM by USA as to Derek Sheehan (Paruti,
                             Anne) (Entered: 11/19/2021)
          11/23/2021     134 Judge Richard G. Stearns: ELECTRONIC ORDER entered granting 131
                             Motion to Seal Document as to Derek Sheehan (1) (Maynard, Timothy)
                             (Entered: 11/23/2021)
          11/23/2021     135 Electronic Clerk's Notes for proceedings held before Judge Richard G. Stearns:
                             Sentencing held on 11/23/2021 for Derek Sheehan (1). Case called; The Court
                             accepts the plea agreement; Government reads victim impact statements into
                             the record; Government makes sentencing argument; Defense makes
                             sentencing argument; Defendant addresses the Court; Derek Sheehan is hereby
                             sentenced on Counts 1-3 to 540 months in the custody of the Bureau of
                             Prisons, 5 years supervised release, $300 special assessment. The Court grants
                             127 Motion for Forfeiture of Property as to Derek Sheehan (1); (Attorneys
                             present: Paruti + Dell'Anno for USA; Keefe + Sheketoff for Sheehan; Patten
                             for USPO. )Court Reporter Name and Contact or digital recording information:
                             James Gibbons at jamesgibbonsrpr@gmail.com. (Maynard, Timothy) (Entered:
                             11/23/2021)
          11/26/2021     136 NOTICE OF APPEAL re 90 MEMORANDUM AND ORDER, 120
                             ELECTRONIC ORDER 137 JUDGMENT by Derek Sheehan (Fee Status: IFP
                             requested). NOTICE TO COUNSEL: A Transcript Report/Order Form, which
                             can be downloaded from the First Circuit Court of Appeals web site at
                             http://www.ca1.uscourts.gov MUST be completed and submitted to the Court
                             of Appeals. Counsel shall register for a First Circuit CM/ECF Appellate
                             Filer Account at http://pacer.psc.uscourts.gov/cmecf. Counsel shall also
                             review the First Circuit requirements for electronic filing by visiting the
                             CM/ECF Information section at http://www.ca1.uscourts.gov/cmecf. US
                             District Court Clerk to deliver official record to Court of Appeals by
                             12/16/2021. (Keefe, William)

                              Modified on 12/1/2021 to Correct Docket Text and Add Document Link to
                              Judgment Being Appealed. Counsel Filed the Notice of Appeal Before the
                              Entry of Judgment and Failed to Follow the CM/ECF Prompts When
                              Filing the Notice of Appeal (Paine, Matthew).

                              (Entered: 11/26/2021)
          11/30/2021     137 Judge Richard G. Stearns: ORDER entered. JUDGMENT as to Derek Sheehan
                             (1), Count(s) 1-3, 540 months in the custody of the Bureau of Prisons; 5 years
                             supervised release; $300 special assessment (Maynard, Timothy) (Main
                             Document 137 replaced on 12/2/2021 to add notation re Preliminary Order of
                             Forfeiture on page 9) (Maynard, Timothy). (Entered: 11/30/2021)




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          11/30/2021     141 Judge Richard G. Stearns: ORDER entered. PRELIMINARY ORDER OF
                             FORFEITURE as to Derek Sheehan. (Maynard, Timothy) (Entered:
                             12/02/2021)
          12/02/2021     139 Certified and Transmitted Abbreviated Electronic Record on Appeal as to
                             Derek Sheehan to US Court of Appeals re 136 Notice of Appeal. (Paine,
                             Matthew) (Entered: 12/02/2021)
          12/02/2021     140 USCA Case Number as to Derek Sheehan 21-1983 for 136 Notice of Appeal..
                             (Paine, Matthew) (Entered: 12/02/2021)
          12/07/2021     142 MOTION to Amend/Correct Motion to Correct Sentence Pursuant to Rule 35
                             as to Derek Sheehan. (Keefe, William) (Entered: 12/07/2021)
          01/07/2022     143 MEMORANDUM in Opposition by USA as to Derek Sheehan re 142
                             MOTION to Amend/Correct Motion to Correct Sentence Pursuant to Rule 35
                             (Paruti, Anne) (Entered: 01/07/2022)
          01/10/2022     144 Judge Richard G. Stearns: ELECTRONIC ORDER entered denying 142
                             MOTION to Amend/Correct Motion to Correct Sentence Pursuant to Rule 35
                             as to Derek Sheehan for the reasons stated in the government's opposition.
                             (Maynard, Timothy) (Entered: 01/10/2022)
          02/03/2022     145 FILING FEE/PAYMENT RECEIVED $ 505.00, receipt number 1BST088205
                             re 136 Notice of Appeal, as to Derek Sheehan (Phillips, Sophie) (Entered:
                             02/03/2022)
          04/25/2022     146 Transcript of Motion Hearing as to Derek Sheehan held on November 15,
                             2019, before Judge Richard G. Stearns. COA Case No. 21-1983. Court
                             Reporter Name and Contact Information: James Gibbons at
                             jamesgibbonsrpr@gmail.com The Transcript may be purchased through the
                             Court Reporter, viewed at the public terminal, or viewed through PACER after
                             it is released. Redaction Request due 5/16/2022. Redacted Transcript Deadline
                             set for 5/26/2022. Release of Transcript Restriction set for 7/25/2022.
                             (Coppola, Katelyn) (Entered: 04/26/2022)
          04/25/2022     147 NOTICE is hereby given that an official transcript of a proceeding has been
                             filed by the court reporter in the above-captioned matter. Counsel are referred
                             to the Court's Transcript Redaction Policy, available on the court website at
                             http://www.mad.uscourts.gov/attorneys/general-info.htm (Coppola, Katelyn)
                             (Entered: 04/26/2022)
          05/04/2022     148 Notice of Service of Process filed by USA as to Derek Sheehan. Individual
                             (s)/Entities served: Derek Sheehan; William Keefe, Esq. as Counsel for Derek
                             Sheehan. (Head, Carol) (Entered: 05/04/2022)



                                             PACER Service Center
                                                Transaction Receipt
                                                  10/07/2022 08:24:03
                             PACER Login: Lockhartdc     Client Code:




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                             Billable Pages: 10           Cost:           1.00




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                                        UNITED STATES DISTRICT COURT
                                         DISTRICT OF MASSACHUSETTS


                                                                 Criminal No.
             UNITED STATES OF AMERICA
                                                                 Violations:
                            V.

                                                                 Counts One through Three:
             DEREK SHEEHAN,                                      Sexual Exploitation of Children
                                                                 (18U.S.C. §§ 2251(a) and (e))
                                   Defendant
                                                                 Forfeiture Allegation:
                                                                 (18U.S.C. § 2253)

                                                     INDICTMENT


                                                     COUNT ONE
                                             Sexual Exploitation of Children
                                             (18U.S.C. §§ 2251(a) and (e))

            The Grand Jury charges that:

                   On various dates beginning on a date unknown to the Grand Jury, but no later than March

            16, 2017, through on or about April 8, 2018, in the District of Massachusetts, the defendant,

                                                   DEREK SHEEHAN,

            did knowingly employ, use, persuade, induce, entice, and coerce a minor, "Minor A," to engage

            in any sexually explicit conduct for the purpose ofproducing any visual depiction of such conduct

            and the visual depiction was produced and transmitted using materials that had been mailed,

            shipped, and transported in and affecting interstate and foreign commerce by any means, including

            by computer, and attempted to do so.

                   All in violation of Title 18, United States Code, Sections 2251(a) and (e).




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                                                    COUNT TWO
                                            Sexual Exploitation of Children
                                            (18U.S.C. §§ 2251(a) and (e))

           The Grand Jury further charges that:

                  On various dates beginning on a date unknown to the Grand Jury but no later than July 5,

           2018, through on or about July 14, 2018, in the District of Massachusetts, the defendant,

                                                  DEREK SHEEHAN,

           did knowingly employ, use, persuade, induce, entice, and coerce a minor, "Minor B," to engage in

           any sexually explicit conduct for the purpose of producing any visual depiction of such conduct

           and the visual depiction was produced and transmitted using materials that had been mailed,

           shipped, and transported in and affecting interstate and foreign commerce by any means, including

           by computer, and attempted to do so.

                  All in violation of Title 18, United States Code, Sections 2251(a) and (e).




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                                                    COUNT THREE
                                             Sexual Exploitation of Children
                                             (18U.S.C. §§ 2251(a) and (e))

            The Grand Jury further charges that:

                   On or about July 17, 2018, in the District of Massachusetts, the defendant,

                                                   DEREK SHEEHAN,

            did knowingly employ, use, persuade, induce, entice, and coerce a minor, "Minor C," to engage in

            any sexually explicit conduct for the purpose of producing any visual depiction of such conduct

            and the visual depiction was produced and transmitted using materials that had been mailed,

            shipped, and transported in and affecting interstate and foreign commerce by any means, including

            by computer, and attempted to do so.

                   All in violation of Title 18, United States Code, Sections 2251(a) and (e).




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                               CHILD PORNOGRAPHY FORFEITURE ALLEGATION
                                                    (18U.S.C. §2253)

                    1.     Upon conviction of any ofthe offenses in violation of Title 18, United States Code,

             Section 2252A(a)(5)(B), set forth in Counts One through Three ofthis Indictment, the defendant,

                                                   DEREK SHEEHAN,

             shall forfeit to the United States of America, pursuant to Title 18, United States Code, Section

             2253, (i) any visual depiction described in sections 2251, 2251A, 2252, 2252A, 2252B, or 2260

             of Chapter 110 of Title 18, or any book, magazine, periodical, film, videotape, or other matter

             which contains any such visual depiction, which was produced, transported, mailed, shipped, or

             received in violation of Chapter 110 of Title 18; (ii) any property, real or personal, constituting

             or traceable to gross profits or other proceeds obtained from such offenses; and (iii) any property,

             real or personal, used or intended to be used to commit or to promote the commission of such

             offenses or any property traceable to such property.

                    2.     Ifany ofthe property described in Paragraph 1, above, as being forfeitable pursuant

            to Title 18, United States Code, Section 2253, as a result of any act or omission of the defendant-

                           a. cannot be located upon the exercise of due diligence;

                           b. has been transferred or sold to, or deposited with, a third party;

                           c. has been placed beyond the jurisdiction of the Court;

                           d. has been substantially diminished in value; or

                           e. has been commingled with other property which cannot be divided without
                              difficulty;

           it is the intention ofthe United States ofAmerica, pursuant to Title 18, United States Code, Section

            2253(b), incorporating Title 21, United States Code, Section 853(p), to seek forfeiture of any other

           property of the defendant up to the value of the property described in Paragraph 1 above.

                   All pursuant to Title 18, United States Code, Section 2253.

                                                             4




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                                                                 A TRUE BILL




                                                                 FOfiBPERSON




           ANNE PARUTI
           ASSISTANT UNITED STATES ATTORNEY
           DISTRICT OF MASSACHUSETTS



           District of Massachusetts: OCTOBER           , 2018
           Returned into the District Court by the Grand Jurors and filed.



                                                                 )EPUTYCLERK

                                                                   /o15cs|




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                                    UNITED STATES DISTRICT COURT
                                     DISTRICT OF MASSACHUSETTS

       UNITED STATES OF AMERICA,                     )
                                                     )
                      v.                             )       Docket No. 18-CR-10391-RGS
                                                     )
       DEREK SHEEHAN,                                )
                                                     )
                      Defendant.                     )


             GOVERNMENT’S OMNIBUS RESPONSE TO THE DEFENDANT’S MOTIONS
                   TO SUPPRESS EVIDENCE AND FOR FRANKS HEARING


                Now comes the United States, by and through the undersigned Assistant United States

       Attorney, and hereby files its omnibus opposition to the defendant’s Motion to Suppress Evidence

       Seized Pursuant to Search Warrants and Motion for a Franks Hearing. For the reasons discussed

       in greater detail below, this Court should DENY the motions.

                                BACKGROUND AND RELEVANT FACTS

                Derek Sheehan (the “defendant”) stands charged by indictment in the above-captioned

       docket with three counts of sexual exploitation of children, in violation of 18 U.S.C. §§ 2251(a)

       and (e). Count One involves a minor victim identified as “Minor A,” Count Two involves a minor

       victim identified as “Minor B,” and Count Three involves a minor victim identified as “Minor C.”

       [Doc. 13].    The investigation precipitating these federal charges stemmed from a separate

       investigation that began on or around June 28, 2018, when Minor A reported that he was the victim

       of a past sexual assault by the defendant to the Norwell Police Department. [Search Warrant

       Affidavit of Special Agent Lisa Crandall (“Crandall Aff.”) at ¶ 4, attached hereto as Sealed Exhibit

       A]. As outlined in more detail below, the ensuing state investigation led to the execution of a state

       search warrant, issued by and docketed in the Hingham District Court as 1858SW0035, on August




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       17, 2018. [Crandall Aff. ¶ 6]. On that same date, the defendant was arrested by the Massachusetts

       State Police for indecent assault and battery on a child under 14, in violation of M.G.L. c. 265,

       § 13B. Id.

                In the course of the execution of that state search warrant, investigators seized several

       electronic devices, including the defendant’s cell phone. [Doc. 3 ¶¶ 5-6]. During subsequent

       forensic examination of the phone, the forensic analyst observed photographs containing what he

       believed to be child pornography, and the Norwell Police therefore sought and obtained a second

       search warrant, issued by and docketed in the Hingham District Court as 1858SW0036, which

       allowed investigators to search the items seized pursuant to the first warrant for evidence of child

       pornography violations. [Doc. 3 ¶ 6]. When investigators executed that search, they observed

       video evidence of the defendant sexually abusing various children while they apparently slept in

       his home. Based on this video evidence, the defendant was subsequently charged in federal court

       with the sexual exploitation of children. [Docs. 3, 13].

       I.       The first warrant – 1858SW0035

                On August 16, 2018, Norwell Police Officer Kayla Puricelli (“Puricelli”) sought a warrant

       to search the residence of the defendant and his wife, Nichole Sheehan, located at 1 Spring Brook

       Drive, Norwell, MA for evidence of Impersonation of a Police Officer, Witness Interference and

       Obstruction of Justice, Unauthorized Access to a Computer, and Identity Fraud. [SW35, attached

       hereto as Exhibit B]. 1 Puricelli included a particularized description of the items to be searched

       for and seized in the body of her application and affidavit [SW35 Aff. ¶ 3] and in a separate four-

       page attachment [SW35 Att. 1].


       1
            Citation to the first search warrant, 1858SW0035, will be “SW35,” with specific reference to
            the warrant, application, affidavit, and attachments where appropriate. It is appended hereto as
            Sealed Exhibit B.




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                In the affidavit submitted in support of the application, Puricelli outlined facts learned

       during the investigation that were sufficient to establish probable cause for the search warrant.

       [SW35 Aff. ¶ 4(b)]. Those facts are summarized as follows:

                A.     Review of Minor A’s iPhone

                On June 28, 2018, Puricelli received Minor A’s iPhone from his sister, who had come to

       the Norwell Police Station to report the sexual assault. [SW35 Aff. ¶ 4(c)(1)]. Minor A’s sister

       reported to Puricelli that when she had reviewed Minor A’s phone, she had observed references to

       a State Police file and an email exchange between the defendant and a person she believed to be

       the school resource officer, Rick Phelps, based on the email address involved in the exchange. Id.

                B.     The State Police report

                Puricelli spoke with multiple individuals who had some knowledge of a document that

       appeared to be a Massachusetts State Police report. Those portions of the affidavit are outlined as

       follows:

                        1.    Minor B’s family: 2 Paragraph 4(c)(6)

                Minor B’s mother spoke with investigators on August 1, 2018. During that interview, she

       reported that the defendant had told her that the State Police had investigated him based on

       allegations that he was a pedophile, and that he had been “cleared.” The defendant had shown her

       the report on several occasions at his home, the first time being earlier that summer before the end

       of the school year, and made her read it. Minor B’s mother also read the report with the defendant’s



       2
           In his motion for a Franks hearing, the defendant appears to have appointed the pseudonym
           “Minor B” to a child who was interviewed as a potential witness to the crimes being investigated
           at the state level; Count 2 of the federal indictment, charging the defendant with the sexual
           exploitation of Minor B, refers to a different child. For the purposes of the litigation of this
           motion only, the government adopts the defendant’s naming convention to refer to the potential
           witnesses to the state crimes.




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       wife. She described the tabbed report as consisting of hundreds of pages and bearing a State Police

       emblem on its cover, and indicated that it contained some of her son’s text messages with another

       child referenced herein as Minor C.

                        2.    Minor C’s family: Paragraph 4(c)(10) 3

                Minor C’s mother met with investigators on August 14, 2018. She relayed that the

       defendant had texted her husband in April 2018 to meet, and that during that meeting, the defendant

       brought a State Police report, which contained several printouts of text messages.

                        3.    Minor D’s family: Paragraph 4(c)(7) 4

                Minor D’s father met with investigators on August 1, 2018. During that meeting, he

       informed them that he was aware of the report but had only seen a picture of it, which showed it

       to be tabbed and bear the State Police emblem on its cover. 5 He explained that the defendant told

       him that kids were texting in school and a comment that “Mr. Sheehan loves me” got “flagged” on

       the school’s WiFi, that school administration and Officer Phelps were alerted, and that Phelps had

       in turn alerted the defendant to the ongoing investigation. Minor D’s father understood that the

       defendant was subsequently “cleared” of all wrongdoing.




       3
           The child referred to as Minor C for the purposes of the litigation of the defendant’s motion to
           suppress is not the child referenced in Count 3 of the federal indictment.
       4
           The child referred to as Minor D for the purposes of the litigation of the defendant’s motion to
           suppress was later determined to be a victim depicted in the videos that show the defendant
           sexually abusing boys in his home. He is referenced in Count 2 of the federal indictment as
           “Minor B.”
       5
           Minor D’s father forwarded the photograph to investigators. The defendant has appended it to
           his motion for a Franks hearing.




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                        4.     Nichole Sheehan: Paragraph 4(c)(9)

                On August 1, 2018, investigators visited the defendant’s wife at her home. They asked her

       about the State Police report, and she claimed she had never seen it or anything that looked like a

       police report. When investigators informed her that her husband had never, in fact, been previously

       investigated by the police, she bit her lip, appeared as if she were going to cry, and refused to

       continue speaking with them.

                C.      Minor A’s Apple ID

                Puricelli also included information in the affidavit from various potential witnesses about

       the defendant’s alleged access to Minor A’s Apple account. On August 7, 2018, 6 investigators

       interviewed Minor B. [SW35 Aff. ¶ 4(c)(11).] He told them that because the defendant had helped

       Minor A create his Apple ID “a while ago,” the defendant still had access to Minor A’s texts,

       pictures, and videos through the account. Id. Minor B indicated that the defendant frequently used

       the computer in his office to look at Minor A’s text conversations, and that he had seen the

       defendant access Minor A’s text conversations with his parents when Minor A wasn’t there. Id.

       Minor B characterized the defendant as “spying” on Minor A’s texts without Minor A’s

       permission. Id. He further indicated that the defendant had a “bunch” of laptops in his home, a

       black iPhone, an iPad, and a server in his basement. Id.

                Following the August 14, 2018 interview of Minor C’s mother, investigators spoke with

       Minor C. [SW35 Aff. ¶ 4(c)(10).] Minor C informed them that the defendant had made Minor

       A’s Apple ID account for him, and thus had Minor A’s Apple ID and password. Id. Minor C also




       6
           The government agrees with the defendant that, given the date of the first warrant application,
           Puricelli’s reference to this interview as occurring on August 17 is likely a typo meant to read
           “August 7.”




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       told investigators that in text messages between Minor A and Minor C around January 2018, the

       defendant was referred to as a “literal child rpst.” Id.

                As part of the investigation, Massachusetts State Trooper Donovan provided Puricelli with

       information obtained from Google. [SW35 Aff. ¶ 4(c)(14).] That information included subscriber

       information for an email account that contained Minor A’s name, with the recovery email set as

       Minor A’s first name @dgs.me, which investigators knew to be an address associated with the

       defendant’s emails. Id. The phone number included in the subscriber information for that email

       account was the defendant’s phone number. Id.

                D.      The Phelps email account

                Trooper Donovan also provided Puricelli with subscriber information for the email account

       “rickphelps21@gmail.com.”        [SW35 Aff. ¶ 4(c)(14).]    Included as part of that subscriber

       information was documentation of the IP address used to create the Gmail address on April 14,

       2018. Id. That IP address, 71.184.91.173, was registered on that date (and thereafter) to the

       defendant at his home address. Id.

                In a meeting on June 28, 2018, Minor C’s mother informed Puricelli that while she was

       looking through her son’s phone, she observed a screen shot of an apparent email exchange

       between the defendant and a “Rick Phelps,” who she believed to be the school resource officer.

       [SW35 Aff. ¶ 4(c)(2).]

                In a conversation on June 30, 2018, Minor A’s father informed Puricelli that, months

       earlier, the defendant had sent him a copy of an email exchange between the defendant and Officer

       Rick Phelps about an investigation into text messages between Minor A and Minor C. [SW35 Aff.

       ¶ 4(c)(3).]    The defendant told Minor A’s father that Minor A had called the defendant a




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       “pedophile” in a message to Minor C, that the school WiFi had flagged it, and the issue had been

       resolved. Id. Minor A’s father understood Phelps to be the school resource officer. Id.

                 E.      Witness intimidation

                 Apart from the information outlined above regarding the Phelps email account and the

       State Police report, Puricelli’s affidavit discussed further facts relevant to a potential witness

       intimidation charge.

                 On August 16, 2018, Minor B’s mother informed Puricelli that on August 13, 2018, the

       defendant and Mrs. Sheehan “begged her” to call them. [SW35 Aff. ¶ 4(c)(12)]. She did; Nichole

       Sheehan informed Minor A’s mother that the police were investigating the defendant based on

       allegations of assault by Minor A the previous summer on the Cape, and the police were trying to

       turn her against her husband. Id. Nichole Sheehan told Minor B’s mother that the police were

       lying and not to believe them. Id. Minor B’s mother reported that during the conversation, the

       defendant got on the phone and told her that Detective Dooley was playing games, that the police

       would be talking to her (if they hadn’t already), and that she should “go ahead and tell them that

       I’ve done nothing wrong.” Id.

       II.       The second warrant – 1858SW0036

                 On August 29, 2018, Puricelli applied for a second search warrant, issued by and docketed

       in the Hingham District Court as 1858SW0036, to search the electronic devices seized pursuant to

       the first warrant for evidence related to the possession of child pornography, committed in

       violation of M.G.L c. 272, § 29(C). 7 Puricelli included a particularized description of the items to

       be searched for and seized both in the body of the application and affidavit [SW36 Aff. ¶ 3] and


       7
             Citation to the second search warrant, 1858SW0036, will be “SW36,” with specific reference
             to the warrant, application, affidavit, and attachments where appropriate. It is appended hereto
             as Sealed Exhibit C.




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       in a separate one page attachment [SW36 Att. 1]. In the affidavit submitted in support of the search

       warrant, Puricelli explained that, during his review of the defendant’s phone during the execution

       of the first warrant, Massachusetts State Police Trooper Hart observed pictures he believed

       depicted child pornography. [SW36 Aff. ¶ 4(b)(3).] Specifically, he described the pictures as

       consisting of images of prepubescent penises that lacked pubic hair. Id.

                                                  DISCUSSION

       I.       The Defendant’s Motion to Suppress Evidence Must be Denied.

                In his Motion to Suppress, the defendant sets forth several grounds on which he urges this

       Court to suppress the video evidence that depicts him sexually assaulting young boys in his home.

       Specifically, he contends that: 1) the first search warrant lacked probable cause to believe that the

       defendant committed any crime and that fruits of those crimes would be found at his home; 2) the

       first warrant was unconstitutionally overbroad; 3) the seizure of the defendant’s iPhone from his

       wife was not authorized by the first warrant; 4) the search executed pursuant to the first warrant

       was executed overbroadly; and 5) the second search warrant lacked probable cause. For all of the

       reasons that follow, each of these arguments fails, and the motion to suppress must be denied.

                A.     The affidavit established probable cause to believe that a crime had been
                       committed and that evidence, fruits, and instrumentalities of that crime would
                       be located at the defendant’s residence.

                Probable cause for a search warrant exists “where information in the affidavit reveals a fair

       probability that contraband or evidence of a crime will be found in a particular place.” United

       States v. Syphers, 426 F.3d 461, 464 (1st Cir. 2005) (internal quotations omitted). Courts

       reviewing the sufficiency of an affidavit engage in a totality of the circumstances analysis,

       considering affidavits “in a common sense manner.” Syphers, 426 F.3d at 465 (internal quotations

       omitted). Based on the totality of the information included in the affidavit, there was probable




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       cause to believe that the defendant had violated each of the statutes enumerated below, and that

       evidence, fruits, and instrumentalities of those crimes would be found in his home.

                       1. Impersonation of a Police Officer, M.G.L. c. 268, § 33

                Massachusetts General Laws, Chapter 268, Section 33 provides, in pertinent part:

                Whoever falsely assumes or pretends to be a ... police officer … and acts as such or requires
                a person to aid or assist him in a matter pertaining to the duty of such officer, shall be
                punished …

                Massachusetts courts have had few opportunities to examine the application of this

       provision, but given the plain language of the statute, have interpreted the government’s burden to

       include proof “not only that the defendant impersonated an officer, but also that he took some

       action in keeping with the pretense.” Commonwealth v. Widberg, 88 Mass. App. Ct. 1102 at *1

       (2015) (unpublished). 8

                The defendant claims that the affidavit supporting the first warrant lacked probable cause

       because it does not allege that the defendant used the title or authority of the police to accomplish

       something. [D.Mot. at 8]. This argument misses the mark; it is not only factually inaccurate, but

       it also imposes a burden of proof on the government that is rooted neither in statute nor common

       law.

                Here, the affidavit lays out a scheme by which the defendant attempted to divert attention

       from himself as the target of a real investigation by assuming the identity of Norwell Police Officer

       Rick Phelps. Central to the scheme was the defendant’s creation of an email address in the officer’s

       name, which he used to impersonate the real Phelps in a fake conversation over email with himself.

       A fair reading of the facts outlined in Puricelli’s affidavit leads to the conclusion that the defendant



       8
           The government is unaware of any published case that directly addresses the elements of or the
           sufficiency of evidence supporting a conviction for a violation of the statute.




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       fabricated the Massachusetts State Police report to help pull off the ruse. He showed the fraudulent

       email conversations and report to multiple individuals who had some stake in the matter—such as

       Minor A’s parents and Minor C’s parents—and talked about it to others.

                These facts certainly establish probable cause to believe that the defendant falsely

       impersonated an officer and “act[ed] as such.” M.G.L. c. 268, § 33. Contrary to the defendant’s

       suggestion, [D.Mot. at 9], the government need not show that he “used the title of a police officer

       and [took] official action consistent with his use of that title” to sustain its burden. See, e.g., United

       States v. Martindale, 790 F.2d 1129, 1135 (4th Cir. 1986) (defendant charged with impersonating

       federal officer in violation of 18 U.S.C. § 912 “acted as such” by using diplomatic passport to

       register at hotels and receive rental car discount); 9 United States v. Willis, 527 Fed. App’x 376,

       378 (6th Cir. 2013) (sufficient evidence that defendants charged with impersonating federal

       officers under 18 U.S.C. § 912 “acted as such,” where they provided a printing company with

       document bearing Dept. of Defense watermark); United States v. Gilbert, 143 F.3d 397, 398-399

       (8th Cir. 1998) (defendant charged with impersonating federal officer in violation of § 912 “acted

       as such” by displaying U.S. Customs badge and identification card when pulled over for speeding).

                Here, the defendant concedes that he “engage[d] in the pretense of being a person named

       Rick Phelps.” [D.Mot. at 9.] The fact that he didn’t use an “official” Norwell Police Department

       email account is irrelevant to the analysis. Under the totality of the circumstances, the warrant

       established “a fair probability” that evidence, fruits, and instrumentalities of violations of




       9
           The Massachusetts statute tracks the language of the federal statute, which provides in pertinent
           part: “Whoever falsely assumes or pretends to be an officer or employee acting under authority
           of the United States or any department, agency or officer thereof, and acts as such…” shall be
           punished. 18 U.S.C. § 912.




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       impersonation of a police officer would be found at the defendant’s residence. Syphers at 464.

       There was no error.

                        2. Witness Intimidation, M.G.L. c. 268, § 13B

                Massachusetts General Laws, Chapter 268, Section 13B provides, in pertinent part:

                Whoever willfully, either directly or indirectly: (i) threatens … or (iii) misleads,
                intimidates, or harasses another person who is a (A) witness or potential witness; (B) person
                who is or was aware of information, records, documents or objects that relate to a violation
                of a criminal law … with the intent to or with reckless disregard for the fact that it may:
                (1) impede, obstruct, delay, prevent or otherwise interfere with: a criminal investigation at
                any stage … shall be punished. 10

       G.L. c. 268, § 13B(b) (St. 2018, c. 69, § 155, eff. April 13, 2018). The statute does not require, as

       the defendant contends, that he intended to interfere with an “ongoing proceeding,” [D.Mot. at 11-

       12], or that he did so with “any expression of malice.” [D.Mot. at 13.]

                Here, the conduct outlined in the affidavit falls squarely within the scope of the statute.

       The defendant fabricated the State Police report for the sole purpose of diverting investigatory

       focus from himself once he realized (by gaining unauthorized access to Minor A’s text messages)

       that Minor A and his friends might be talking about his alleged assault of Minor A. He then

       circulated that fraudulent report—along with a fabricated chain of emails that he concocted—to

       make it seem as if “rumors” about him were investigated and cleared. The only conceivable reason

       for doing so is to mislead potential witnesses from the truth, to prevent a real investigation from

       uncovering his illegal conduct. Just a few months after the defendant engaged in those preliminary

       efforts, the defendant apparently realized that his plan had failed. The fair inference is that then,


       10
            The version of the statute in effect from November 4, 2010 to April 2, 2018 does not differ from
            the current version of the statute in any way that is material to this analysis. The government
            notes, however, that certain of the cases cited by the defendant interpret earlier versions of the
            statute that have been changed significantly by intervening amendments. See, e.g., D.Mot. at
            11 (citing Commonwealth v. Pagels, 69 Mass.App.Ct. 607, 612-613 (2007) (interpreting the
            1996 version of the statute)).




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       his wife reached out to Minor B’s mother, arguably on his behalf, to alert her that there was an

       active investigation targeting the defendant for crimes against one of her son’s friends. Nichole

       Sheehan told Minor B’s mother that the police were lying, urged her not to believe them, and the

       defendant joined in – for the sole purpose of misleading the investigation.

                As an initial matter, there is no question that Minor B’s mother and the other parents who

       the defendant targeted with this elaborate scheme were “potential witnesses” as contemplated by

       the statute. Commonwealth v. Fragata, 480 Mass 121, 126 (2018) (in analyzing 2010 version of

       statute, noting that “‘potential witness at any stage of a criminal investigation’ includes persons

       who are likely to participate in a future investigation that has not yet begun”). The defendant’s

       reliance on Commonwealth v. Hamilton, 459 Mass. 422 (2011), Commonwealth v. Patch, 91

       Mass. App. Ct. 1122 (2017) (unpublished), and Commonwealth v. Burt, 40 Mass. App. Ct. 275

       (1996), is misplaced; those cases all interpret earlier versions of the statute, which are not relevant

       here. Hamilton and Patch are particularly inapposite, where they outline the statute’s application

       to retaliatory conduct.

                Similarly, the defendant’s reading of “witness” as it is contemplated by the statute is too

       constricted; he dismisses the applicability of § 13B because there was “no possibility that [the

       people the defendant showed the report and emails to] would be called to testify against him about

       the assault on Minor A.” [D.Mot. at 12.] The defendant’s analysis on this point fails, however. A

       “witness” isn’t defined by just potential testimony; the statute protects any “person who is a: (A)

       witness or potential witness; [or] (B) person who is or was aware of information, records,

       documents or objects that relate to a violation of a criminal law.” M.G.L. c. 268, § 13B(b).

                Moreover, there is no requirement, as the defendant suggests, that the government

       demonstrate “an expression of menace to the alleged victim’s person or property.” [D.Mot. at 13.]




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       In fact, the Supreme Judicial Court has long held to the contrary. See, e.g., Commonwealth v.

       Robinson, 444 Mass. 102, 109 (2005) (citing Commonwealth v. Gordon, 44 Mass. App. Ct. 233

       (1998) for proposition that defendant’s behavior can still qualify as intimidation even if not overtly

       threatening). All of the cases the defendant cites in support of this contention predate the

       significant overhauling of the statutory text in intervening years. Now, a defendant brings himself

       within the scope of the statute when he “threatens,” “misleads,” “intimidates,” or “harasses” one

       of the people protected by the statute. M.G.L. c. 268, § 13B(b).

                While the “misleading” prong is typically charged in connection with a “police officer” as

       its target, its application has not actually been expressly limited by statute or common law. The

       Supreme Judicial Court has noted that, given Massachusetts courts’ construction of the statute as

       it has evolved over the years and in light of the underlying statutory purpose, “it seems evident

       that whether a statement is ‘misleading’ for purposes of § 13B depends on whether it reasonably

       could lead investigators to pursue a course of investigation materially different from the course

       they would have otherwise pursued.” Commonwealth v. Paquette, 475 Mass. 793, 801-802 (2016).

       Nonverbal conduct may also satisfy this prong of the statute, when “it was intended to create a

       false impression in the mind of another and, if so, whether such conduct was reasonably likely to

       lead the investigation in a materially different, or wrong, direction.” Commonwealth v. Tejeda,

       476 Mass. 817, 819-820 (2017).

                Here, the defendant’s impersonation of Officer Phelps in an imaginary email chain;

       fabrication of the State Police report; presentation of both to multiple parents who, if allegations

       involving Minor A came to light, would certainly be potential witnesses or at least aware of

       information relevant to a violation of a criminal law; statements to those parents that he had been

       “cleared” of supposed wrongdoing; and efforts to convince Minor B’s mother to tell the police that




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       he had “done nothing wrong” all demonstrate an elaborate and well-thought out attempt to steer

       investigators toward a “course of investigation materially different from the course they would

       have otherwise pursued.” Paquette, 475 Mass. at 801-802. Under the totality of the circumstances,

       Puricelli’s affidavit established a fair probability that evidence of violations of M.G.L. c. 268,

       § 13B would be found in the defendant’s residence.

                       3. Unauthorized Access to a Computer, M.G.L. c. 266, § 120F

                M.G.L. c. 266, § 120F provides, in pertinent part:

                Whoever, without authorization, knowingly accesses a computer system by any means, or
                after gaining access to a computer system by any means knows that such access is not
                authorized and fails to terminate such access, shall be punished…

                The requirement of a password or other authentication to gain access shall constitute notice
                that access is limited to authorized users.

                There is a dearth of case law interpreting this provision. A plain reading of the statute,

       however, shows that the affidavit contained sufficient facts to establish probable cause that

       evidence of a violation would be found in the place to be searched.

                The affidavit established that Minor A had an Apple account that was password-protected,

       that the defendant logged into that account without Minor A’s knowledge or consent, and that he

       did so using computer devices from his home. The defendant was not authorized to access Minor

       A’s account. See, e.g., Commonwealth v. Piersall, 67 Mass. App. Ct. 246 (2006) (defendant liable

       under statute for accessing ex-wife’s email account with password gleaned from minor daughter).

                The defendant’s argument to the contrary is unavailing. [D.Mot. at 15.] Regardless of

       whether Minor A realized that the defendant had his login information, the defendant was not

       authorized to access his account, which is plainly obvious given the purpose for which witnesses

       accused him of doing so: to spy on Minor A. The defendant was therefore potentially liable under

       the statute. See, e.g., Cheng v. Romo, 2012 WL 6021369 at *3-4 (D.Mass. 2012) (in denying




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       motion for summary judgment of civil complaint for violation of analogous provision of Stored

       Communications Act, noting that whether plaintiff gave defendant password was not

       determinative in evaluating whether defendant was authorized or exceeded authorization to access

       plaintiff’s email account). The affidavit established probable cause to believe the statute had been

       violated and that evidence of said violation would be found in the defendant’s home.

                        4. Identity Fraud, M.G.L. c. 266, § 37E

                M.G.L. c. 266, § 37E provides, in pertinent part:

                (b) Whoever with intent to defraud, poses as another person without the express
                authorization of that person and uses such person’s personal identifying information to
                obtain or attempt to obtain … anything of value, … or to harass another…shall be guilty
                of identity fraud[.]”

                When the defendant posed as Officer Rick Phelps, as outlined above, he did so specifically

       to avoid prosecution (or, at least, scrutiny from law enforcement). 11 A common sense reading of

       the statute supports the argument that attaining that goal would surely qualify as something of

       value.

                However, less than five months before Puricelli submitted her affidavit to the clerk

       magistrate, the Supreme Judicial Court rejected the government’s argument that “anything of

       value” could refer to intangible benefits in Commonwealth v. Escobar, 479 Mass. 225 (2018)

       (providing false name to police officer to avoid prosecution did not involve attempt to obtain

       “anything of value”). The government concedes that this new case law addresses the issue raised

       by the defendant here, and resolves it in the defendant’s favor. But, neither Puricelli nor the clerk



       11
            The defendant’s plan was convoluted; he fabricated the emails and State Police report to
            convince the parents in his orbit that he had already been investigated and cleared so that, if
            Minor A or one of his friends did disclose his true crime, the parents would mistakenly believe
            that it had already been dealt with, and would thus be discouraged from sharing information
            with the police.




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       magistrate who issued the warrant should be faulted for finding probable cause to believe the

       defendant’s misappropriation of Officer Rick Phelps’s identity in order to avoid law enforcement

       scrutiny for crimes he was accused of committing against Minor A brought him within the scope

       of the statute. Just over one year earlier, a panel of the Massachusetts Appeals Court ruled that a

       defendant who presented a stolen license to an officer who pulled her over for speeding was

       properly prosecuted under the statute because her “ability to drive despite her license being

       suspended certainly qualifies as something of value.” Commonwealth v. Ney, 91 Mass. App. Ct.

       1107 at *2 (2017) (unpublished). Where an objectively reasonable officer would not necessarily

       have been aware of this new (March 2018) case in August 2018, suppression would have no

       deterrent effect and thus is not warranted. United States v. Brunette, 256 F.3d 14, 20 (1st Cir.

       2001) (applying Leon good-faith exception where law unsettled).

                       5. Even if the affidavit did not supply probable cause, the Leon good-faith
                          exception applies.

                Even if this Court finds that the clerk magistrate erred in issuing the search warrant, on any

       or all of the bases described above, the defendant’s motion to suppress must be denied because the

       officers executing the warrant acted in objectively reasonable reliance on it. Supreme Court

       precedent dictates that suppression is a remedy of last resort, to be used for the sole purpose of

       deterring future Fourth Amendment violations, and only when the deterrence benefits of

       suppression outweigh its heavy costs. Davis v. United States, 564 U.S. 229, 237 (2011); Herring

       v. United States, 555 U.S. 135, 140-41 (2009). “The fact that a Fourth Amendment violation

       occurred—i.e., that a search or arrest was unreasonable—does not necessarily mean that the

       exclusionary rule applies.” Id. (citing Illinois v. Gates, 462 U.S. 213, 223 (1983)). “To trigger the

       exclusionary rule, police conduct must be sufficiently deliberate that exclusion can meaningfully




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       deter it, and sufficiently culpable that such deterrence is worth the price paid by the justice system.”

       Herring, 555 U.S. at 144.

                These principles are reflected in the good-faith exception to the exclusionary rule

       articulated in Leon: when police act in “objectively reasonable reliance on a subsequently

       invalidated search warrant” obtained from a neutral and detached magistrate, “the marginal or

       nonexistent benefits produced by suppressing evidence . . . cannot justify the substantial costs of

       exclusion.” United States v. Leon, 468 U.S. 897, 922 (1984). The good-faith exception thus

       recognizes that, “when an officer acting with objective good faith has obtained a search warrant

       from a judge or magistrate and acted within its scope . . . there is no police illegality and thus

       nothing to deter.” Id. at 920-21.

                The good-faith exception cannot apply in certain clearly-delineated situations: where the

       issuing judge was misled by information in the affidavit; where the issuing judge wholly

       abandoned his judicial role; where the warrant affidavit is so lacking in probable cause “as to

       render belief in its existence entirely unreasonable;” and where the warrant fails to identify with

       particularity the place to be searched or things to be seized so that agents could not reasonably

       presume it to be valid. United States v. Levin, 874 F.3d 316, 322 (1st Cir. 2017) (citing Leon at

       923 and United States v. Woodbury, 511 F.3d 93, 99 (1st Cir. 2007)).

                Here, none of these four exclusions to the good-faith exception apply. As discussed in

       more detail below, Puricelli did not mislead the clerk magistrate, there is nothing in the record to

       suggest that the clerk magistrate “wholly abandoned” his role in issuing the warrant, and the

       warrant was exceedingly particular in identifying the place to be searched and the things to be

       seized. Furthermore, for the reasons outlined above, the warrant did not lack probable cause.

       Puricelli and her colleagues acted in objective good faith in obtaining the search warrant and acted




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       within its scope, and there is no illegal behavior to deter. Leon, 468 U.S. at 920-921. The motion

       must therefore be denied.

                 B.      The first warrant was not unconstitutionally overbroad.

                 The defendant advances several arguments to support his complaint that the first warrant

       was unconstitutionally overbroad. First, he contends that the search for “every media or electronic

       device, whether or not it was capable of generating or storing the items sought in the search” and

       “regardless of ownership” rendered the warrant invalid. [D.Mot. at 18.] He also argues that the

       warrant sought devices without offering proof that the defendant actually owned them. [D.Mot.

       at 22.]

                 “General warrants authorizing the wholesale rummaging through a person’s property are

       invalid.” United States v. Kuc, 737 F.3d 129, 133 (1st Cir. 2013) (internal citations omitted). “To

       satisfy the particularity requirement, a search warrant 1) must include sufficient information to

       guide and control the judgment of the executing officer in deciding where to search and what to

       seize and 2) cannot be overbroad or include items that should not be seized.” Id. The search and

       seizure conducted under a warrant must conform to the warrant. United States v. Upham, 168 F.3d

       532, 536 (1st Cir. 1999).

                 The defendant concedes that the crimes referenced in the warrant could have involved the

       use of an email account, an Apple account, and the printing of a publicly available State Police

       logo. [D.Mot. at 19.] He fails to assert, however, how or why any of the items specifically

       enumerated in Attachment 1 to the first search warrant (appended hereto as Exhibit B) are not

       sufficiently particularized. The attachment to the affidavit lists less than two pages’ worth 12 of



       12
            The actual attachment is four pages, but a significant portion is consumed by a recitation of the
            relevant state statutes.




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       specific items to be seized, many of which are related to the storage, manipulation, and sending of

       computer data (Items A, C, D, E, M, 13 N, O, P, Q, R, and S) – a category that, by the defendant’s

       own concession, might contain evidence of the crimes laid out in the affidavit. Despite the

       defendant’s allegation to the contrary [D.Mot. at 22], the affidavit did, in fact, contain information

       that the defendant specifically owned many of these items. [SW35 Aff. ¶ 4(c)(11).] The clerk

       magistrate who issued the warrant need not have “presumed” that he owned such things. The

       affidavit explicitly indicated that he did.

                 Furthermore, the attachment to the affidavit identifies not only the types of items to be

       seized, but also the types of files to be searched for in those items. Contrary to the defendant’s

       claim, this was not styled as a “general warrant.” [D.Mot. at 20.] For example, Item M seeks

       permission to search various types of files “relevant to the report of” each of the asserted crimes

       at issue. [SW35 Att. 1.] Items M through S are further specifically tied to “the aforementioned

       violations of Massachusetts General Law which are under investigation.” Id. The warrant is

       sufficiently particularized to withstand constitutional scrutiny. United States v. Kuc, 737 F.3d at

       133-134. A challenge to the particularity of the affidavit, under these circumstances, must fail.

       See, e.g., United States v. Carruthers, 2009 WL 4738186 at *5 (D.Mass. 2009) (warrant listing

       specific computer-related items capable of storing, manipulating, and sending data not lacking in

       particularity).

                 To the extent the warrant is flawed in the way the defendant claims it to be, blanket

       suppression is not the answer. United States v. Riggs, 690 F.2d 298, 300-301 (1st Cir. 1982). For

       example, if the Court agrees with the defendant that the affidavit doesn’t draw a sufficient nexus

       to “MP3 players” [D.Mot. at 22] or information about the Snapchat username “Dank Stank”


       13
            “M” is used twice, on pages 2 and 3 of the attachment; both fit into this category of data.




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       [D.Mot. at 24], the Court should suppress any MP3 players seized. Finally, even if this Court finds

       that the language in the affidavit violated the particularity requirement of the Fourth Amendment,

       the good-faith exception to the exclusionary rule would apply. Kuc, 737 F.3d at 134. The motion

       to suppress, on these grounds, should be denied.

                C.      The search was not executed overbroadly.

                The defendant next argues that the search was overbroadly executed, in that a phone was

       seized from the person of Nichole Sheehan, in direct contravention to the face of the warrant, and

       in that investigators opened files not pertaining to the crimes outlined in the first warrant. [D.Mot.

       at 25-26.]

                As an initial matter, the first warrant return does not indicate the location from where the

       defendant’s iPhone was seized. The return merely indicates that it was seized pursuant to the

       warrant. [SW35 Ret.] The government is unclear as to the basis for the defendant’s contention

       that the phone was seized as part of a “warrantless search.” [D.Mot. at 25.] 14

                The defendant also argues that the affidavit did not supply a basis to believe that there

       would be photographs or videos of an incriminatory nature, and therefore, the officers never should

       have reviewed video media in executing the search warrant. [D.Mot. at 26.] This argument, it

       appears, is really an extension of the argument made above – that the affidavit does not draw a

       sufficient nexus between the type of file to be searched (videos) and the crimes for which the

       affidavit established probable cause. Styled as it is, however, it must fail. 15 First, the affidavit

       submitted in support of the second warrant indicated that a trooper conducting a forensic analysis


       14
            Rather than engage in a hypothetical analysis here, the government reserves argument on this
            point for a hearing on the motions or, if it would be helpful to the Court, in a separate briefing.
       15
            To the extent the Court agrees that the affidavit did not draw a sufficient nexus to videos, the
            good-faith exception applies, for the reasons outlined above.




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       of the defendant’s phone pursuant to the first warrant observed pictures he believed to be child

       pornography. This mistake of fact eviscerates the argument; the defendant does not suggest—nor

       could he, given the facts laid out in the affidavit regarding pictures of the Massachusetts State

       Police report—a deficient nexus between that type of media and the alleged crimes. The warrant,

       authorized by a detached and neutral clerk magistrate, allowed officers to search for pictures or

       images. In the absence of an allegation that the magistrate abandoned that detached and neutral

       role, suppression is appropriate only if the officers were dishonest or reckless in preparing their

       affidavit. Leon, 468 U.S. at 926. That is not the case here, and as such, the “extreme sanction of

       exclusion is inappropriate.” Id.

                D.     The second warrant was properly issued, where it established probable cause
                       to believe the specified items would contain evidence of child pornography.

                In executing the first warrant, Trooper Hart observed images on the defendant’s phone that

       he believed to be child pornography. [SW36 Aff. ¶ 4(b)(3).] Relying on the First Circuit’s decision

       in United States v. Brunette, 256 F. 3d 14 (1st Cir. 2001), the defendant argues that, because

       Puricelli did not submit copies of the child pornography that Trooper Hart observed, the affidavit

       lacks probable cause and the fruits of the warrant should be suppressed. [D.Mot. at 30.] If this

       were an affidavit submitted to a federal magistrate judge in the District of Massachusetts (or

       elsewhere in the First Circuit), the government might agree. However, it was not; it was submitted

       to a clerk magistrate of a state district court. As such, while the First Circuit’s opinion in Brunette

       may be instructive, it is not binding precedent. “Although we give respectful consideration to such

       lower Federal court decisions as seem persuasive, we are not bound by decisions of Federal courts

       except the decisions of the United States Supreme Court on questions of federal law.”

       Commonwealth v. Pon, 469 Mass. 296, 308 (2014) (internal quotations omitted). The government

       is unaware of any Supreme Court or Massachusetts state court case that adopts the “best practice”




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       outlined in Brunette. As such, neither Puricelli nor the clerk magistrate who issued the second

       warrant should be held to its standard.

                To establish probable cause, an affidavit need only establish a “fair probability” that

       evidence of particular crime will be found in particular locations. Commonwealth v. Anthony,

       451 Mass. 59, 72 (2008). “An inference drawn from the affidavit, if not forbidden by some rule

       of law, need only be reasonable and possible…not necessary or inescapable.” Commonwealth v.

       Molina, 476 Mass. 388, 394 (2017) (internal quotations omitted). Here, Puricelli’s affidavit, when

       examined “in a common sense manner,” Syphers, 426 F.3d at 465, establishes such a probability,

       where it indicates that Trooper Hart observed pictures of prepubescent penises lacking pubic hair.

       [SW36 Aff. ¶ 4(b)(3).] The clerk magistrate thus properly issued the warrant to search the

       specified devices for further evidence of child pornography.

                Once again, even if this Court determines that the affidavit lacked probable cause, the

       defendant’s motion to suppress must be denied because the officers executing the warrant acted in

       objectively reasonable reliance on it and the good-faith exception applies.


       II.      The defendant’s motion for a Franks hearing must be denied.

                Affidavits executed in support of a search warrant enjoy a presumption of validity. Franks

       v. Delaware, 438 U.S. 154, 171 (1978). A defendant may be entitled to a hearing to contest the

       factual validity of an affidavit only if he makes a “substantial preliminary showing” on two issues.

       Franks, 438 U.S. at 170. First, the defendant must make a showing of Adeliberate falsehood or of

       reckless disregard for the truth@ regarding specific portions of the warrant affidavit; Anegligence or

       innocent mistake@ will not suffice. Id. at 171. If the defendant alleges that the officer was reckless,

       the defendant must show that Athe affiant in fact entertained serious doubts as to the truth of the

       allegations.@ United States v. Ranney, 298 F.3d 74, 78 (1st Cir. 2002) (internal quotations omitted).




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                Second, even if the defendant makes this showing, he is not entitled to a Franks hearing if,

       Awhen material that is the subject of the alleged falsity or reckless disregard is set to one side, there

       remains sufficient content in the warrant affidavit to support a finding of probable cause.@ Id. at

       171-72. In other words, the defendant must show that the allegedly false statement was Anecessary

       to the finding of probable cause.@ United States v. Reiner, 500 F.3d 10, 14 (1st Cir. 2007) (quoting

       Franks, 438 U.S. at 155-56).

                “A defendant’s failure to make a showing on either of these two elements dooms his

       challenge.” United States v. Owens, 917 F.3d 26, 38 (1st Cir. 2019) (internal quotations omitted).

       If these two requirements are met, the defendant may then try to establish by a preponderance of

       the evidence that the search warrant affiant in fact committed perjury, and that the non-perjurious

       content of the search warrant affidavit would have been insufficient on its own to establish

       probable cause, thereby requiring that the search warrant be voided and its fruits suppressed.

       Franks, 438 U.S. at 156.

                In announcing this rule, the Supreme Court emphasized that it Ahas a limited scope, both

       in regard to when exclusion of the seized evidence is mandated, and when a hearing on allegations

       of misstatements must be accorded.@ Id. at 167. The First Circuit has aptly characterized these

       requirements as Aclear@ and Aexacting standards@ that a defendant must satisfy to obtain a Franks

       hearing. United States v. Higgins, 995 F.2d 1, 3 & n.3 (1st Cir. 1993). Because these standards

       are so high, the First Circuit, more than 20 years after the Franks decision, specifically cited Franks

       and its requirement for a substantial preliminary showing when observing that Aevidentiary

       hearings on motions in criminal cases are the exception, not the rule.@ United States v. Alicea, 205

       F.3d 480, 487 (1st Cir. 2000).




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                The Franks framework has been extended to the omission of material information from

       search warrant affidavits. AIn the case of an omission, >suppression should be ordered only if the

       warrant application, . . . clarified by disclosure of previously withheld material, no longer

       demonstrates probable cause.=@ United States v. Reiner, 500 F.3d 10, 14 (1st Cir. 2007)(quoting

       United States v. Stewart, 337 F.3d 103, 105 (1st Cir. 2003)) (alteration in original). Thus, Athe

       inquiry is whether [the omission=s] inclusion in an affidavit would have led to a negative finding

       by the magistrate on probable cause.@ United States v. Castillo, 287 F.3d 21, 25 n.4 (1st Cir. 2002).

       The omission still must be intentional or reckless: Aeven if the facts omitted from the warrant

       application were material, either individually or in the aggregate, that determination alone does

       not suffice to show that a Franks violation occurred. >Franks protects against omissions that are

       designed to mislead, or that are made in reckless disregard of whether they would mislead, the

       magistrate.=@ United States v. Belton, 414 F. Supp. 2d 101, 111 (D.N.H. 2006) (quoting United

       States v. Colkley, 899 F.2d 297, 301 (4th Cir. 1990))(collecting cases), aff=d, 520 F.3d 80 (1st Cir.

       2008).

                Here, the defendant asserts three claims in support of his motion for a Franks hearing: 1)

       Puricelli included facts about an interview of Minor B in the affidavit that were not documented

       in a report of that interview; 2) Puricelli intentionally misled the clerk magistrate by omitting

       information about Minor A’s knowledge regarding the defendant’s access to Minor A’s Apple

       account; and 3) Puricelli intentionally, or with reckless disregard for the truth, omitted a first-hand

       description of or picture of the State Police report.

                The defendant has not made (and cannot make) the requisite substantial preliminary

       showing required for a hearing (much less prove that a Franks violation occurred) because he has

       failed to establish the intentionality and materiality of the alleged misstatement. Furthermore, as




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       a matter of law, the alleged omissions do not rise to the requisite level of materiality (i.e., they

       cannot eviscerate the finding of probable cause) and there is no basis for concluding that any

       omission was designed to mislead or made in reckless disregard of whether it would mislead the

       reviewing clerk magistrate.

                The defendant’s claim that Puricelli “adds a number of more sinister facts that appear to

       not have actually been stated by Minor B,” [D.Mot. at 6], is baseless. 16 First, the Massachusetts

       State Police report indicates, in the first paragraph, that the troopers met with Puricelli and another

       Norwell Police detective, and that Minor B’s mother consented to having all four officers present

       for the interview. Def. Exh. C ¶ 1. The defendant’s claim that Puricelli was not present is, plainly,

       wrong. Second, the trooper indicated in the report that the interview was recorded and that the

       report was a “brief summary of the interview.” Id. The defendant’s contention that the trooper

       “recited the facts as he heard them” is also, plainly, wrong. The defendant has thus failed to

       demonstrate that his request to hold an evidentiary hearing “to determine where these additional

       facts came from” is based on a substantial showing of either intentionality or materiality, and his

       motion on this ground must fail.

                The defendant’s second basis similarly fails to justify his request for a Franks hearing. The

       defendant speculates that “reasonable diligent police officers would have asked Minor A how the

       phone account was created” and “Minor A told police that account was created by Sheehan,” and

       concludes that Puricelli must have intentionally omitted that fact from the affidavit. [D.Mot. at 7.]

       Speculation is not enough to meet the “clear and exacting standard” required by Franks, and the

       defendant has proffered no concrete reason to believe that a) Minor A actually made such a



       16
            As set forth in footnote 2, the government adopts the defendant’s naming convention for Minor
            B purposes of the litigation of this motion.




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       statement and b) Puricelli either intentionally or recklessly omitted that fact. Furthermore, even if

       the defendant were able to make a substantial showing that such a statement existed, he would not

       be able to show that its inclusion was necessary to establish probable cause. 17 Having failed to

       make a showing on either of the two elements, the defendant’s motion on this ground is doomed.

       Owens, 917 F.3d at 38.

                 Finally, the defendant claims that if Puricelli had included a first-hand description of the

       purported Massachusetts State Police report in her affidavit, the clerk magistrate would have

       concluded that it “looks nothing like an actual Massachusetts State Police Report.” [D.Mot. at 8.]

       Apart from the fact that the defendant’s argument is premised on pure speculation as to how the

       clerk might have judged the defendant’s handiwork, this argument is fatally flawed in that it

       presumes that the civilians who were tricked into believing that the defendant had been “cleared”

       after an investigation—a ploy designed to divert suspicion from him in the case that any of his

       minor victims disclosed his bad behavior—would know what a “real” report would look like. The

       defendant cannot establish a) what a “real” report “looks” like or b) whether the civilians involved

       would or should know what a “real” report “looks” like. Thus any “omission” in that vein would

       be completely immaterial to the clerk magistrate’s assessment of probable cause. His motion on

       these grounds, again, fails.

                 The defendant has made no showing, let alone a substantial one, to necessitate a Franks

       hearing. As such, the motion should be DENIED.




       17
            See above at pages 14-15 for discussion of the sufficiency of the affidavit.




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                                                CONCLUSION

                For all of the foregoing reasons, the government respectfully requests that this Court

       DENY the defendant’s Motion to Suppress Evidence Seized Pursuant to Search Warrants and

       Motion for a Franks Hearing.




                                                            Respectfully Submitted,

                                                            ANDREW E. LELLING
                                                            United States Attorney

       Date: July 24, 2019                           By:    /s/ Anne Paruti______________
                                                            Anne Paruti
                                                            Assistant United States Attorney
                                                            United States Attorney’s Office
                                                            One Courthouse Way
                                                            Boston, MA 02210
                                                            617-748-3310




                                                   ******

                                       CERTIFICATE OF SERVICE

       I, Anne Paruti, hereby certify that the foregoing was filed through the Electronic Court filing
       system and will be sent electronically to the registered participants as identified on the Notice of
       Electronic filing:


       Date: July 24, 2019                           /s/ Anne Paruti_______________
                                                     Anne Paruti
                                                     Assistant United States Attorney




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        1                       UNITED STATES DISTRICT COURT
                                  DISTRICT OF MASSACHUSETTS
        2

        3       * * * * * * * * * * * * * *
                UNITED STATES OF AMERICA   *
        4                                  *        CRIMINAL ACTION
                            v.             *        No. 18-10391-RGS-1
        5                                  *
                DEREK SHEEHAN              *
        6                                  *
                * * * * * * * * * * * * * *
        7

        8

        9                 BEFORE THE HONORABLE RICHARD G. STEARNS
                               UNITED STATES DISTRICT JUDGE
       10                              MOTION HEARING
                                    September 20, 2019
       11

       12       APPEARANCES:

       13               UNITED STATES ATTORNEY'S OFFICE (By AUSA Anne
                   Paruti), 1 Courthouse Way, Suite 9200, Boston,
       14          Massachusetts, 02210, on behalf of the United States of
                   America
       15
                        LAW OFFICE OF WILLIAM KEEFE, (By William Keefe,
       16          Esq.), 801C Tremont Street, Boston, Massachusetts
                   02118, on behalf of the Defendant
       17

       18

       19

       20

       21                                          Courtroom No. 21
                                                   1 Courthouse Way
       22                                          Boston, Massachusetts 02210

       23
                                James P. Gibbons, RPR, RMR
       24                         Official Court Reporter
                               1 Courthouse Way, Suite 7205
       25                      Boston, Massachusetts 02210
                                 jamesgibbonsrpr@gmail.com




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                                                                                       2


       1                                P R O C E E D I N G S

       2                   THE CLERK:    All rise.

       3             (Whereupon, the Court entered the courtroom.)

       4                   THE CLERK:    Court is open.    You may be seated.

       5             This is Criminal Action No. 18-10391, United States of

       6        America versus Derek Sheehan.

       7             Would counsel please identify themselves for the

       8        record.

       9                   MS. PARUTI:    Good afternoon, your Honor.          Anne

      10        Paruti for the government.

      11                   MR. KEEFE:    Good afternoon, Judge.      For the record,

      12        my name is William Keefe, and I'm at counsel table with

      13        Mr. Derek Sheehan, my client.

      14                   THE COURT:      Okay.

      15             Let me just give you my view at the moment of the case

      16        and why I may, unless you can persuade me I am wrong, ask

      17        you to re-brief this issue.

      18             The motion to suppress is a motion that seems to me to

      19        be addressed to a state court, not to a federal court.                In

      20        fact, the word "Commonwealth" is used almost throughout the

      21        brief.    Most of the cases cited are Massachusetts cases, and

      22        the statutes that are referred to are Massachusetts

      23        statutes.

      24             As I understand it, the argument is that the affidavit

      25        failed to establish a viable violation of Massachusetts law.




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       1        Therefore, there was no probable cause for the search.

       2             It's been true for almost 60 years that evidence

       3        gathered by state authorities that is in conformity with

       4        federal law is admissible in federal proceedings without

       5        regard to state law.

       6             That was Elkins v. United States, 364 U.S. 206 (1960),

       7        underscored by United States v. Sutherland in the First

       8        Circuit, 929 F.2d 756 (1991).      This is true even when the

       9        evidence "is obtained pursuant to a state search warrant or

      10        in the course of a state investigation," and it is true even

      11        if the state court suppresses the evidence.

      12             The question is not what the import of state law was on

      13        the affidavit.   It is whether -- and the government is

      14        trying to use, that is the federal government, the same

      15        evidence in federal court -- the warrant complied with

      16        federal law.

      17             Let me just say, even with respect to some of the

      18        Massachusetts statutes, I think you both are kind of missing

      19        the fact that this 13B has been amended four or five times

      20        in the last 12 years, most recently effective April of 2018.

      21        And actually the statute says something far different from

      22        the way it was interpreted in the mid 2000s.         I would

      23        suggest you look at the more recent Figueroa case from the

      24        Supreme Judicial Court for an understanding how the SJC

      25        interprets the statute today.




                                        JA: 49
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       1             So unless I'm wrong, I think you both have addressed

       2        the wrong issue.   I mean, my issue is, as I understand it,

       3        the offense being pursued in federal court is a child

       4        pornography possession offense.     And it seems to me that

       5        that is the issue, unless I am missing something about what

       6        is happening here.

       7             Ms. Paruti?

       8                MS. PARUTI:     So the offense being prosecuted here

       9        is production of child pornography, not possession.          I don't

      10        think that distinction matters for what the Court is saying.

      11                THE COURT:      No, it doesn't.

      12             So the issue is whether this warrant established

      13        probable cause to believe that there would be evidence

      14        connected with the federal crime being prosecuted, not

      15        whether you could have sustained a state court prosecution,

      16        which I have no ultimate opinion on, although I think you

      17        probably could have if you were a resourceful prosecutor.

      18                MS. PARUTI:     So I think the way that the government

      19        interpreted the defendant's motion is that because the

      20        evidence that the federal government is relying on for the

      21        federal prosecution came as from the fruits of the state

      22        search warrant, that the defendant's only -- my

      23        understanding of the argument is that the defendant then has

      24        a right to challenge whether or not that evidence was

      25        lawfully obtained.




                                         JA: 50
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       1              And in this case, because there was a search warrant,

       2        his only avenue to making that challenge is as he has made

       3        it:   One, in challenging the sufficiency of the affidavit to

       4        the extent it establishes probable cause to believe that

       5        evidence of X crime would be found in Y location.

       6              And the government agrees with everything that the

       7        Court said as far as how this Court would -- assuming that

       8        it was proper for this Court to evaluate the validity of

       9        that search warrant, given that the evidence for this

      10        federal crime came from that state search warrant, that the

      11        government need only -- or the Court need only find that the

      12        search warrant itself comported with federal law.            And that

      13        is the analysis that the government has undertaken in its

      14        response to the argument the defendant has set forth.

      15                  THE COURT:    Okay.   But I think the premise is

      16        faulty.

      17              Going back again to Elkins, it's sometimes called the

      18        "reverse silver platter doctrine."

      19              And the case you want to look at in the First Circuit

      20        is United States v. Soule, 908 F.2d 1032 (1990), which

      21        basically holds that evidence gathered under a state warrant

      22        need not even be compliant with Federal Rule of Criminal

      23        Procedure 41(a).   It just has to be substantially within

      24        conformity of what federal law requires to be admissible.

      25              The only exception that some courts have recognized is




                                         JA: 51
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       1        that where the federal government instigates and

       2        participates in the state investigation and the state

       3        seizure of evidence, and, therefore, becomes jointly liable

       4        from mistakes made in the state court, some courts would

       5        say, Well, then there might be an issue of suppression.

       6             Most actually wouldn't under current doctrine.          We are

       7        a separate sovereign court, and while we respect state law

       8        and state decisions, they do not control what we do here.

       9             So, Mr. Keefe, I do not want to put your client at a

      10        disadvantage, so I would like to give you a chance to go

      11        back and relook at the issue in terms of whether you think

      12        under federal law there was probable cause.

      13             I'm not offering an opinion on that.

      14                MR. KEEFE:      Yes.

      15             So, your Honor, just to reiterate, what had been said

      16        earlier was it's a child pornography production-related case

      17        here in federal court.

      18             It was not a child pornography investigation, and the

      19        investigation focused on these four state court crimes.           And

      20        that was what the issuing Hingham District Court judge

      21        reviewed and based his authorization for the warrant to be

      22        issued on.   And that's the argument that I made, and I think

      23        it's a good argument, that it lacks probable cause for each

      24        of the four offenses.

      25                THE COURT:      That would be a great argument in the




                                         JA: 52
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       1        state court, and it might be a great argument here, but not

       2        because Massachusetts law was not implicated.

       3             I think what I can do that would be most helpful to

       4        both of you is I will give you, even by the end of today or

       5        maybe Monday at the latest, just a quick memorandum

       6        explaining my understanding of the relationship between

       7        federal and state law as it affects search warrants and

       8        whether evidence is or is not admissible in federal court.

       9             Then you do not have to worry about having written down

      10        these citations, because this is actually from a rough draft

      11        of what I would have otherwise started to write, and then I

      12        realized that we are talking about the wrong issue almost

      13        all the way through the brief.

      14                   MR. KEEFE:   And is the Court contemplating further

      15        filings?

      16                   THE COURT:   Yes.   I want to give you a chance.

      17        Your client ought to have an opportunity.        Originally, this

      18        was all, I assume, gathered with the thought of a state

      19        prosecution.   The federal government then stepped in --

      20                   MR. KEEFE:   Correct.

      21                   THE COURT:   -- and took over the prosecution.

      22             And I can see lot of the work you did was thinking of

      23        the state court prosecution.

      24             I want to give you a chance to address the federal

      25        prosecution, which doesn't really relate to any of the state




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       1        offenses that are otherwise alleged in the affidavit.

       2             But let me give a quick memorandum of guidance as to

       3        the cases that I am relying on.      And then I think it would

       4        be more productive if I have Tim set out a new briefing

       5        schedule to give you a chance to refile.

       6             Okay?

       7                MR. KEEFE:      Very good.

       8                MS. PARUTI:     Yes.   That would be great.

       9                MR. KEEFE:      Thank you, your Honor.

      10                MS. PARUTI:     Thank you.

      11                THE COURT:      Thank you, and I will try to have

      12        something by today or Monday morning at the latest.

      13                THE CLERK:      All rise.

      14             Court is in recess.

      15             (Proceedings adjourned.)

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                                         JA: 54
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                                 C E R T I F I C A T E



                  I, James P. Gibbons, Official Court Reporter for the

            United States District Court for the District of

            Massachusetts, do hereby certify that the foregoing pages

            are a true and accurate transcription of my shorthand notes

            taken in the aforementioned matter to the best of my skill

            and ability.


                  /s/James P. Gibbons              October 7, 2022
                     James P. Gibbons




                            JAMES P. GIBBONS, CSR, RPR, RMR
                                Official Court Reporter
                              1 Courthouse Way, Suite 7205
                              Boston, Massachusetts 02210
                               jamesgibbonsrpr@gmail.com




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                           UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS
                          CRIMINAL ACTION NO. 18-10391-RGS

                              UNITED STATES OF AMERICA
                                             v.
                                    DEREK SHEEHAN

                            MEMORANDUM AND ORDER
                       ON DEFENDANT’S MOTION TO SUPPRESS
                                    September 20, 2019

      STEARNS, D.J.

            As the court noted at this afternoon’s hearing, both parties have briefed

      the motion to suppress on the issue of whether the warrant issued by the

      Massachusetts state court complied with Massachusetts law, particularly

      with respect to identifying a viable prosecution under Massachusetts law.

      The court believes that the fundamental premise is mistaken for the

      following reasons. It has long been established that evidence gathered by

      state or federal authorities in conformity with federal law is admissible in

      federal proceedings without regard to state law. Elkins v. United States, 364

      U.S. 206, 224 (1960); United States v. Sutherland, 929 F.2d 765, 769 (1st

      Cir. 1991). This is true even when the evidence “is obtained pursuant to a

      state search warrant or in the course of a state investigation.” United States




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        v. Mitro, 880 F.2d 1480, 1485 n.7 (1st Cir. 1989). This is true even in

        instances where a state court has issued a motion to suppress involving the

        same warrant based either on state law or the state court’s interpretation of

        federal law. Virginia v. Moore, 553 U.S. 164, 171-176 (2008); United States

        v. Charles, 213 F.3d 10, 19 (1st Cir. 2000). See Olmstead v. United States,

        277 U.S. 438 (1928) (evidence gathered by federal agents in contravention of

        a state statute); United States v. Quinones, 758 F.2d 40, 43 (1st Cir. 1985)

        (same); United States v. Aiudi, 835 F.2d 943, 946 (1st Cir. 1987) (evidence

        gathered in contravention of state law by state authorities acting in concert

        with federal agents); United States v. Kovac, 795 F.2d 1509, 1511-1512 (9th

        Cir. 1986) (same). See also United States v. Pforzheimer, 826 F.2d 200, 202-

        204 (2d Cir. 1987) (evidence gathered illegally under state law by state

        officials without federal participation); United States v. One Parcel of Real

        Property, 873 F.2d 7, 8 (1st Cir. 1989) (same); United States v. Jarabek, 726

        F.2d 889, 900 (1st Cir. 1984) (same).

                Moreover, evidence gathered under a state warrant is admitted in

        federal proceedings if the warrant substantially complies with federal law;

        strict adherence to Fed. R. Crim. P. 41(a) is not required so long as the state




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        warrant process comports with federal due process requirements. United

        States v. Soule, 908 F.2d 1032, 1038-1039 (1st Cir. 1990). 1

                In that this case was undertaken by state authorities with a state

        prosecution in mind and then, for whatever reason, ceded to the federal

        government for prosecution under a federal crime, in fairness to the

        defendant the court believes that he (and the government) should have the

        opportunity to address the relevant issue: whether the affidavit supporting

        the warrant established probable cause under federal law for the search(es).

        The court offers no opinion on other issues raised by the defendant as, for

        example, overbreadth, and will leave those for the new round of briefing

        which the court now instructs the Clerk to schedule.


                                         SO ORDERED.
                                         /s/ Richard G. Stearns
                                         __________________________
                                         UNITED STATES DISTRICT JUDGE




                As an aside, while the Supreme Judicial Court has not definitively
                1

        stated whether it endorses the so-called “reverse silver platter” doctrine, it
        implicitly has. See Commonwealth v. Gonzalez, 426 Mass. 313, 317 (1997)
        (evidence lawfully gathered by federal authorities for federal purposes
        without any significant participation by state officers held admissible in
        Massachusetts courts even though the same evidence gathering, if engaged
        in by state officials, would violate art. 14 of the Declaration of Rights).




                                              JA: 58
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        1                         UNITED STATES DISTRICT COURT
                                    DISTRICT OF MASSACHUSETTS
        2

        3       * * * * * * * * * * * * * *
                UNITED STATES OF AMERICA   *
        4                                  *        CRIMINAL ACTION
                            v.             *        No. 18-10391-RGS-1
        5                                  *
                DEREK SHEEHAN              *
        6                                  *
                * * * * * * * * * * * * * *
        7

        8

        9                  BEFORE THE HONORABLE RICHARD G. STEARNS
                                UNITED STATES DISTRICT JUDGE
       10                               MOTION HEARING
                                      November 15, 2019
       11

       12       APPEARANCES:

       13                UNITED STATES ATTORNEY'S OFFICE (By AUSA Anne
                    Paruti), 1 Courthouse Way, Suite 9200, Boston,
       14           Massachusetts, 02210, on behalf of the United States of
                    America
       15
                         LAW OFFICE OF WILLIAM KEEFE, (By William Keefe,
       16           Esq.), 801C Tremont Street, Boston, Massachusetts
                    02118, on behalf of the Defendant
       17

       18

       19

       20

       21                                           Courtroom No. 21
                                                    1 Courthouse Way
       22                                           Boston, Massachusetts 02210

       23
                                  James P. Gibbons, RPR, RMR
       24                           Official Court Reporter
                                 1 Courthouse Way, Suite 7205
       25                        Boston, Massachusetts 02210
                                   jamesgibbonsrpr@gmail.com




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        1                              P R O C E E D I N G S

        2                 THE CLERK:    All rise.

        3            (Whereupon, the Court entered the courtroom.)

        4                 THE CLERK:    Court is open.    You may be seated.

        5            This is Criminal Action No. 18-10391, United States of

        6       America versus Derek Sheehan.

        7            Will counsel please identify themselves for the record.

        8                 MS. PARUTI:    Good morning, your Honor.       Anne Paruti

        9       for the government.

       10                 MR. KEEFE:    Good morning, your Honor.       William

       11       Keefe for Mr. Sheehan.

       12                 THE COURT:    Let me apologize to all of you,

       13       including the defendant, for the delay.        I should know by

       14       now that whatever my powers are, they do not extend to

       15       doctors' schedules.     So I just got back from a doctor's

       16       appointment, which should have happened a long time ago, but

       17       a lesson learned.

       18            All right, I think, thanks to the supplemental

       19       pleadings, we're now actually on the same page.

       20            It seems to me the issues, though pretty much, with a

       21       couple of permutations I suppose, remain the same; that is,

       22       the probable cause issue is still before us.         And I am not

       23       suggesting that state law and federal law are significantly

       24       different the way "probable cause" is defined, but it is a

       25       live issue.




                                         JA: 60
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        1            I think what is off the table are any deficiencies of a

        2       material nature with respect to the state procedures with

        3       respect to search warrants.      And I do not see that any

        4       material deviations with respect to Rule 41 are being

        5       alleged.

        6            It is still true though that state law and federal law

        7       are aligned on the issue of nexus between the object of the

        8       search and the evidence to be found.       I would be interested

        9       in counsels' view of that issue; that is, what was the

       10       probable cause to believe that the searches conducted in

       11       this case were actually going to yield evidence of, yes, the

       12       state crimes that the police were investigating.

       13            Perhaps the Franks issue -- again, it is a federal

       14       issue that may be on the table.       I do not think the case for

       15       a Franks hearing appears to me to be very strong, but I am

       16       not precluding argument from counsel on the arrest issue.

       17            So, Mr, Keefe, since it is a warranted search, I think

       18       the burden is with you to go forward.

       19                  MR. KEEFE:   Thank you, your Honor.

       20            Your Honor, the timeline of what happened here is that,

       21       according to the search warrant affidavit, in the end of

       22       June, June 28, a complaint is made to the Norwell Police

       23       Department of an incident of an indecent touching of a

       24       person described as "Minor A" in the search warrant

       25       affidavit.   And the indecent touching took place some ten




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        1       months, ten months, beforehand, around the time of Labor Day

        2       in 2017.     And the touching, the indecent assault on the

        3       minor, took place on Cape Cod on a weekend trip between the

        4       defendant's family and the minor.

        5            The affidavit alleges further that in July and August

        6       of 2018, when the Norwell Police and Massachusetts State

        7       Police were investigating the indecent assault from almost a

        8       year beforehand, they learned of -- I think what could be

        9       described as some unusual behavior attributed to the

       10       defendant.    And specifically they learned from the parents

       11       of some other minors that the defendant was the subject of

       12       rumors or chatter between some minor boys at the local

       13       school.    And specifically there was a claim by one of the

       14       minors that the defendant was a pedophile.

       15            The police learned from these various parents that the

       16       defendant created what he described as a "police report," a

       17       State Police report, and it is described in the search

       18       warrant affidavit as a document with the State Police logo

       19       on it, and the contents of it are maybe 50-60 pages.           And

       20       the contents of it contain text messages.

       21            The defendant is also alleged to have shown the parents

       22       of these various minors, not the parents of Minor A, not the

       23       parents of the victim of the indecent assault and battery,

       24       but the parents of other minors, he is alleged to have shown

       25       them emails between a person named R. Phelps and himself.




                                         JA: 62
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        1            The subject of the emails -- the substance of the

        2       emails -- I don't know that it's alleged that the parents

        3       ever read the actual content of the emails.         Likewise, I

        4       don't know that the search warrant alleges that the parents

        5       of these three minors actually read the contents of this

        6       bogus State Police report.

        7            But, at any rate, the parents do say, and it's the

        8       parents of Minor B, C, and D, say a variety of things; that

        9       they were shown a screenshot; that one of them met the

       10       defendant at a Dunkin' Donuts one evening and was shown the

       11       report.   It doesn't allege that he actually read any of the

       12       contents of the report.

       13            So based on that, the affiant and state troopers

       14       investigate further.     They subpoena the records for an email

       15       account of rphelps21@gmail.      They receive a reply from gmail

       16       which provides the information of the account being created

       17       sometime in April.    The name "R. Phelps" has some

       18       significance.    According to the government, there is a

       19       Norwell school police officer by the name of Rick Phelps.

       20            So based on that information, the police are seeking in

       21       the search warrant evidence of the emails between

       22       R. Phelps and the defendant.

       23            They're seeking -- I think they're seeking evidence of

       24       maybe the downloading or the defendant's production or

       25       printing of the supposed State Police report.




                                         JA: 63
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        1            I suggest that the only thing they could be looking

        2       for -- and it is an attachment.       I will hand it up in a

        3       moment, your Honor, but the front page of the supposed

        4       police report is this color-coated copy that I would hand up

        5       to the Court, if I may?

        6                 THE COURT:    You may, of course.

        7                 MR. KEEFE:    It is already an attachment, but a

        8       black-and-white attachment.

        9            So the police are looking for really three things.

       10            The other thing I neglected to say was that the

       11       affidavit has information from one of the minor children

       12       that the defendant is spying on Minor A, and that the

       13       defendant at his residence on his home computer is able to

       14       watch and read Minor A's text messages.

       15            The affidavit also goes on to say that the defendant

       16       actually created the account.       He created the Apple account.

       17       He created the iPhone account of Minor A, created it and

       18       created the password for Minor A.

       19            So again, back to what the police are looking for and

       20       this nexus issue.    The police are looking for evidence of

       21       the email exchange between rphelps@gmail.com and the

       22       defendant.   They're looking for, presumably, maybe the

       23       downloading of the State Police logo, which is a public

       24       domain item which anybody can download and print out.           But

       25       that would appear the second thing that they're looking for.




                                         JA: 64
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        1       And they're looking for evidence of the defendant's

        2       unauthorized access to Minor A's computer, which they've, by

        3       the way, interviewed Minor A on multiple occasions.           They've

        4       done the SANE interview with him.       They've talked to the

        5       other minor who they learned maybe he is watching the kids'

        6       text message activity, but they also know that he is the one

        7       that created the account, created the password, and thus

        8       would be one who has authorized access to the account.

        9            So, your Honor, I do think on the nexus issue there is

       10       no evidence in the affidavit as to when he possibly

       11       downloaded the State Police logo, where he printed it out,

       12       off of what device he may have printed it out.

       13            The police know already that the gmail account was

       14       created on a certain date in April, and they have the emails

       15       and the email exchange already.

       16            And then again on that last issue, the unauthorized

       17       access to a computer, it states in the search warrant

       18       affidavit that the defendant created the account.

       19                 THE COURT:    So I'm absolutely clear, created the

       20       account for Minor A?

       21                 MR. KEEFE:    For Minor A, for the telephone account

       22       that the other minor says that he's spying on this kids's

       23       text messages.

       24                 THE COURT:    So you have the Minor A account and

       25       then the Phelps account, the supposed Phelps account?




                                         JA: 65
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        1                 MR. KEEFE:    Correct.

        2                 THE COURT:    Okay.

        3                 MR. KEEFE:    So that's essentially the timeline,

        4       your Honor.

        5            Just arguing, not under state law or just federal law,

        6       the thrust of the defendant's argument is that there is,

        7       evaluating the affidavit under federal search warrant law,

        8       no reasonable magistrate could make a substantial basis for

        9       probable cause that any of the four crimes -- and the four

       10       crimes are:   Witness intimidation, unauthorized access to a

       11       computer, identity fraud, and impersonating a police

       12       officer -- no reasonable magistrate could make a probable

       13       cause finding that the conduct set forth in the four corners

       14       of the search warrant affidavit satisfies a probable cause

       15       standard that the defendant committed any of these crimes.

       16            With respect to witness intimidation, your Honor,

       17       whether it's a federal statute or a state statute, the

       18       person --

       19                 THE COURT:    Here I think you are right.       It would

       20       be the state statute we would look at because the police

       21       were not thinking of federal crimes at the time.

       22                 MR. KEEFE:    Well, under that state statute and even

       23       the federal statute, the person who is the subject of the

       24       supposed intimidation has to be a witness, and there --

       25       under state law there has to be a pending investigation or a




                                         JA: 66
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        1       pending criminal case.     And there was neither here.

        2            And the three witnesses that are possibly intimidated

        3       are the parents of Minor B, the parents of Minor C, and the

        4       parents of Minor D.     And each one of these parents -- Minor

        5       B is shown the report several times.       There's no evidence

        6       the parents of Minor -- the father of Minor B ever read the

        7       report.   He's just told by the defendant that the defendant

        8       was cleared of wrongdoing.

        9            Minor C -- the parent of Minor C saw the report.

       10       There's no allegation that Minor C attributes a statement to

       11       the defendant that he was cleared of an investigation.             He's

       12       just shown the report.

       13            And then Minor D only sees a picture of it.          I think

       14       Minor D's father saw a screenshot of the report.

       15            And likewise with the R. Phelps emails, it is the

       16       father of Minor A that receives a copy of the email

       17       exchange.   No allegation that he read it.

       18            And it's Minor C's mother that claims to see a

       19       screenshot of the Rick Phelps email, no allegation that she

       20       read or learned of what the content of what these emails

       21       were.

       22            At any rate, your Honor, there's no pending criminal

       23       investigation.

       24                 THE COURT:    That isn't the law, though, is it, in

       25       Massachusetts?




                                         JA: 67
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        1                  MR. KEEFE:   It is.

        2                  THE COURT:   Timing matters because the law changed

        3       in 2018.

        4                  MR. KEEFE:   So the government cites the Zapatta

        5       [sic] case.

        6                  THE COURT:   Zapatta or Fregatta [ph.]?

        7                  MR. KEEFE:   Fregatta, yes, your Honor, where the

        8       defendant prevents his girlfriend in a domestic squabble

        9       from making a 911 call.

       10            I think the distinction here is that there is not even

       11       an allegation or scuttlebutt or a suspicion that the

       12       defendant has committed a crime.      He is hearing through the

       13       grapevine that a kid at the local school has made a

       14       statement that he was a pedophile.

       15            Now, with respect to either that or the indecent

       16       assault and battery that took place on Cape Cod ten months

       17       before on Labor Day weekend, the parents of Minor A, B, and

       18       C are not witnesses to any of these events.        It might be a

       19       little bit of a different story if there was actually an

       20       allegation that the defendant had committed some kind of

       21       crime and that the parents of these three minors were in

       22       some way possibly witnesses to the crime that he was accused

       23       of doing.    And that's not the case here, your Honor.

       24            I spoke earlier, and I'm not going to repeat myself

       25       about the unauthorized access to a computer, but it is




                                         JA: 68
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        1       crystal clear from the affidavit that he created the

        2       account.    And the inference from that is that when you

        3       create an account you are an authorized user of the account.

        4             The minor never made any attempt to change the login

        5       password or user name.     The defendant remained an authorized

        6       user or having authorized access to that account from the

        7       date that he actually created it.      I did cite a case --

        8                  THE COURT:   When you say he created the account,

        9       was it created in Minors A's name or in the defendant's

       10       name?

       11                  MR. KEEFE:   I'm not sure that a --

       12                  THE COURT:   Or a generic name?

       13                  MR. KEEFE:   I am not sure that the affidavit

       14       specifies as to what person's name the account was created

       15       in.

       16             "Mr. Sheehan had access to Minor A's Apple ID as

       17       Mr. Sheehan helped create it a while ago.        Blank said that

       18       Mr. Sheehan had access to Minor A's text, pictures, video,

       19       through his Apple ID."

       20             So it's not specific.

       21             I think there's language in here that the account was

       22       created with an email that is attributed to the defendant

       23       and from his computer.

       24             So I did cite a case, your Honor, Shamrock Foods v.

       25       Gast, which says that Apple ID information stored in the




                                        JA: 69
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        1       Cloud and not alleged to have accessed the actual cell phone

        2       device doesn't violate the federal unauthorized access to a

        3       computer statute.

        4            This state court statute is a misdemeanor, and I think

        5       the penalty for it carries a fine.       There's no --

        6                THE COURT:     I think the elements would be pretty

        7       much the same as the federal statute because that is what

        8       the legislation was responding to is the --

        9                MR. KEEFE:     They are similar, your Honor.

       10                THE COURT:     -- federal statute.

       11                MR. KEEFE:     So, your Honor, the identity fraud --

       12       you know, the state court statute does require that the

       13       defendant take the personal identification information of

       14       someone else and use it to obtain something of value.

       15                THE COURT:     I think the government more or less

       16       concedes that point to you.

       17                MR. KEEFE:     Yes.

       18            And finally, the impersonation of a police officer,

       19       your Honor, factually similar to what I just mentioned to

       20       the Court in regards to the witness intimidation.            It's two

       21       different things.    It's the State Police report that I have

       22       handed up.   It is the creation of the Rick Phelps --

       23       R. Phelps email and showing it to the parents of a couple of

       24       these minors.

       25            And the state court statute does require that as an




                                        JA: 70
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        1       element of the offense that the person impersonating a

        2       police officer use the title to take action consistent with

        3       it.   And that typically has been factually a situation where

        4       someone dressed as a police officer or someone with a police

        5       badge asks a civilian to do something, like stop their motor

        6       vehicle, pull somebody over, have a pedestrian on the street

        7       stop and submit to maybe questioning.       So that is noticeably

        8       absent from the facts in the affidavit in support of this

        9       search warrant.

       10             Anybody can dress up as a police officer and march up

       11       and down the street proclaiming they're a police officer,

       12       and that's not a crime.     It becomes a crime when you ask

       13       someone to do something posing as a police officer.

       14             And I think it's clear from the affidavit that the

       15       defendant, when he met with the parents of these couple of

       16       minors and showed them this supposed police report and maybe

       17       showed them a screenshot or a copy of an email, that he

       18       wasn't asking them to do anything.       He was simply, in a

       19       bizarre way, trying to maybe clear his name or --

       20                THE COURT:     It is a little bit bizarre, but you

       21       might also, I suppose, make the argument that he wasn't

       22       pretending to be a police officer.       He had created a

       23       fictitious third-party persona; am I right?

       24                MR. KEEFE:     Which I think further complicates the

       25       issue for the affiant in trying to pigeonhole this conduct




                                        JA: 71
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        1       into something that it's not, which is this state court

        2       statute of impersonating a police officer.

        3                THE COURT:     But the nexus theory would be, what,

        4       that the cell phone would have evidence of the State Police

        5       screenshot, which would corroborate -- I think I see what

        6       the argument would be.

        7                MR. KEEFE:     The nexus here -- there is no nexus

        8       because the affidavit doesn't establish in any way, shape,

        9       or form that the defendant downloaded this off of a

       10       particular computer at his home and printed it out.          And

       11       again it's a logo that is -- we can Google it up on any

       12       computer, and you'll see the picture, and it can be

       13       downloaded and printed.     That's not a crime.

       14            And again, creating this ridiculous -- and you can see

       15       how absurd -- this was part of the Franks arguments, that

       16       the police were trying to improperly influence the

       17       magistrate by not attaching a copy of the police report that

       18       I handed the Court.     Any reasonable assistant clerk or state

       19       court judge looking at that absurd document would know that

       20       it is not a police report.

       21            So I do make some other arguments, your Honor, that the

       22       search warrant in both its substance and in its execution

       23       was overly broad.    The affiant asks for literally every

       24       single electronic device under the sun, multiple, multiple

       25       electronic devices which would have no capacity to have the




                                         JA: 72
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        1       evidence of the email account, the gmail account, the Apple

        2       account, or the printing of the publicly available State

        3       Police logo.    They include mp3 players, video cameras, video

        4       devices.    None of these things that are asked for by the

        5       affiant could possibly contain the information that they

        6       were --

        7                  THE COURT:   I think you're probably right on that

        8       point, but isn't the usual remedy then to simply suppress

        9       things that are seized that are clearly outside of the

       10       reasonable --

       11                  MR. KEEFE:   Yes, it is --

       12                  THE COURT:   -- request?

       13                  MR. KEEFE:   -- but it's further an egregious

       14       violation, turning this into a general warrant, an

       15       unconstitutional general warrant, where they ask for every

       16       single file, every single login information in every single

       17       account on every one of these devices.         They sought all of

       18       these electronic devices regardless of ownership.

       19            The Court can see from the search warrant return that

       20       multiple devices belonging to the defendant's minor children

       21       were seized during the execution of the search warrant, for

       22       which there should never have been authorization given for

       23       that.

       24            And, likewise, there was no time limitation, your

       25       Honor, on the warrant, no temporal limitation.




                                        JA: 73
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        1            The affiant knew that the gmail account was created in

        2       April of 2018.

        3            The parents of Minor B, C, and D, were shown the bogus

        4       State Police report sometime in the springtime of 2018, and

        5       the lack of limitation allowed the officers to search

        6       everything from the inception or creation of the account of

        7       every single account in the household.

        8            The other violation with respect to the manner in which

        9       the search warrant was executed, it's crystal clear from the

       10       government's own documents that the iPhone which is searched

       11       and becomes the predicate, the basis, for the second search

       12       warrant, which reveals the items for which the defendant is

       13       now charged, is seized from Nicole Sheehan.        She is the wife

       14       of the defendant.    And there's a clear restriction that

       15       this -- these police do not have authority to search any

       16       person present.   That information is from the search warrant

       17       return.

       18            If your Honor thought -- and I do think it's a valid

       19       basis to allow the suppression of the telephone.         If the

       20       court thought necessary that some evidence should be taken

       21       on that, I don't think that's inappropriate.

       22                 THE COURT:    We might get to that point.

       23            I suppose the question that just occurs to me is what

       24       is the defendant's, if it's Nicole's phone, what is his

       25       standing with respect to the search?




                                         JA: 74
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        1                 MR. KEEFE:    I think the government is saying it's

        2       the defendant's phone.

        3                 THE COURT:    That may be an evidentiary point that

        4       needs to be resolved.

        5                 MR. KEEFE:    Yeah, and I think that's clear from the

        6       reading of the two affidavits that the telephone, the iPhone

        7       seized from Nicole Sheehan, belongs to the defendant.

        8            So on the Franks issue, your Honor, I will be very

        9       brief.   They're threefold.    The affiant omitted information

       10       from the magistrate that Minor A authorized Sheehan's access

       11       to his Apple account.     And what the defendant is arguing

       12       here -- I mean, it's in the affidavit that the defendant

       13       created the account.    But these detectives interviewed

       14       Minor A on multiple occasions, including a SANE interview.

       15       And it just defies logic that they didn't ask the kid, Who

       16       created the account for you?        How did you come up with the

       17       password and the user name?

       18            The answer to that obviously would be that the

       19       defendant created it and created the password.

       20            Including false information that Minor B was spying on

       21       Minor A, that argument is essentially that if the defendant

       22       had access -- the defendant had access to Minor A's phone

       23       and Minor A knows it, then he's not spying on him.

       24            And the last argument is the one I mentioned already,

       25       your Honor, that omitting the State Police report that I




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        1       just handed up, the front page was misleading to the

        2       magistrate.

        3            And again, your Honor, the affidavit's allegation that

        4       the defendant committed these crimes lacks -- is completely

        5       void of probable cause on each of the four crimes alleged,

        6       bordering on the absurd.     So again I would suggest that no

        7       reasonable magistrate could find a substantial basis for a

        8       probable cause finding.

        9            And I hope I have addressed the nexus issue that your

       10       Honor asked about.

       11                THE COURT:     No, you did very well.

       12                MR. KEEFE:     Thank you.

       13                THE COURT:     Ms. Paruti.

       14                MS. PARUTI:    Thank you, your Honor.

       15            So just from the outset, I would like to say that I

       16       think with regard to the probable cause issue, I would like

       17       the Court to consider the written submission that the

       18       government filed both before -- or discussion on the

       19       record --

       20                THE COURT:     I have both.

       21                MS. PARUTI:    -- and after.

       22                THE COURT:     There was nothing wrong with the

       23       original submissions.     It's just that you were both arguing

       24       deficiencies under state law --

       25                MS. PARUTI:    Right.




                                        JA: 76
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        1                  THE COURT:    -- that led me astray for a few

        2       minutes.

        3                  MS. PARUTI:    No.   I understand.   And I only raise

        4       that because in the -- first of all, the Court is right,

        5       obviously.    We're analyzing the constitutional realm, which

        6       is whether or not probable cause supported the affidavit, or

        7       was contained in the affidavit, to support the issuance of

        8       the search warrant.      But we're using the federal standard,

        9       which is very deferential to the magistrate who issued the

       10       search warrant, which is based on a totality of the

       11       circumstances review and which is based primarily in a

       12       common-sense understanding.

       13            And so as the Court is suggesting, the written

       14       submissions from the second round of briefing on that point

       15       you'll notice that the government did not address the

       16       elements step by step for each of the four state crimes that

       17       were alleged -- that were alleged or addressed in the state

       18       warrant.     Those issues are, however, taken up and I think

       19       address everything the defendant said here today.

       20                  THE COURT:    No, I understand your arguments.       I

       21       mean, where state law is relevant is we have to put

       22       ourselves in the mind of the state officer who is making the

       23       application for the search.       I know it sounds -- it's just

       24       the way our system works given dual sovereignties, but then

       25       we have to the look at the issuance of the warrant as if a




                                          JA: 77
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        1       reasonable federal magistrate were actually sitting there --

        2                 MS. PARUTI:   Absolutely.

        3                 THE COURT:    -- acting on that same information.

        4                 MS. PARUTI:   And so I think, your Honor, that -- I

        5       guess my question is would you like me to -- I just want to

        6       focus my argument to where it will be helpful to the Court.

        7                 THE COURT:    What is most helpful is the issue I

        8       directed to Mr, Keefe.

        9            I mean, I can see lots of arguments the government can

       10       make.   Once you have legitimate access to the phone,

       11       whatever the warrant says, the argument would be that

       12       inadvertence, or inevitable discovery, or even plain view,

       13       that looking for a legitimate thing one sees an

       14       unanticipated illegitimate item, of course police can seize

       15       it at that point lawfully.

       16                 MS. PARUTI:   Right.

       17                 THE COURT:    But the question is, What is the nexus?

       18            We have the three crimes now.       I think one we all

       19       concede is off the table.     What is it that lead police to

       20       believe that there is going to be relevant evidence for the

       21       magistrate to believe that somehow this phone is going to

       22       tell us something that is corroborative of a crime?

       23                 MS. PARUTI:   So I think that the way the government

       24       has organized the facts or sort of reinterpreted the

       25       affidavit -- so there's a lot of information that we're




                                        JA: 78
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        1       talking about.   We're talking about witness interviews.

        2       We're talking -- so witness interviews with Minors B, C, and

        3       D.   We're talking about witness interviews or information

        4       that comes from Minor A.     We're talking about information

        5       that comes from the parents of some of those minors, and

        6       we're talking about other information that was gleaned

        7       through other avenues of police investigation.

        8            I think that in the way that the affidavit may be

        9       organized it's a little harder to sort of conceptualize

       10       that.   And I believe that the way that the government has

       11       sort of reorganized and refocused the Court's view of the

       12       facts that are all contained in the affidavit in my initial

       13       submission I think is a little bit clearer, and I think it

       14       organizes all of the facts that are contained therein so

       15       that the Court can more easily understand each of those

       16       different pieces of the puzzle.

       17            So the witness intimidation piece, where we're talking

       18       about the defendant using -- so, one, using emails as part

       19       of his scheme to try to convince the parents of these kids

       20       that he was investigated for some sort of wrongdoing

       21       regarding kids and he was, in fact, cleared.

       22            And that sort of bleeds into or is tied into the whole

       23       piece about the creation of the Rick Phelps email, who is a

       24       police officer at the school.       And the whole purpose of him

       25       creating that, for the defendant creating that, bogus




                                        JA: 79
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        1       account in the name of the school resource officer was to

        2       bolster or corroborate his story to these parents that he's

        3       perpetrating through the creation of this apparent State

        4       Police report that documents the investigation of him, that

        5       he has been cleared, there is nothing that they have to

        6       worry about.   Even if you do hear chatter, for example,

        7       about the -- or by your kids or your kid's friends that I'm

        8       a pedophile or -- I think one of the messages that was

        9       observed was that he was a literal rapist out of the mouth

       10       of one of the kids.

       11            And that all ties into, again, when we're talking about

       12       a 30,000-foot view of the scheme and the criminal behavior

       13       that was under investigation for months leading up to the

       14       issuance of this search warrant, that the defendant was

       15       somehow gaining access to Minor A and had inappropriate

       16       attention drawn to Minor A, which ties into the unauthorized

       17       use of a computer.

       18            So we're talking about again, just from a factual

       19       standpoint, the facts in the affidavit establish that the

       20       defendant assisted Minor A in creating his Apple ID and that

       21       Minor A's friends knew that the defendant was using that

       22       access later to spy on Minor A, which, in and of itself,

       23       shows that it was an unlawful use of the account access.

       24            All of that together paints a picture of a person, the

       25       defendant here, who was using email, other sorts of computer




                                        JA: 80
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        1       resources or digital resources, to both set up the scheme,

        2       so in the creation of the police report, the false State

        3       Police report, the Rick Phelps email, and his spying on

        4       Minor A as part of the sort of ongoing involvement in

        5       criminal activity that involves Minor A, all of that

        6       suggests that there is information that would be found in

        7       the very particularized list of items that Detective --

        8       then-Officer, now-Detective -- Puricelli submitted to the

        9       magistrate.

       10            This is not a general warrant.       She specifically ties

       11       the individual items that she's asking for permission to

       12       search to the particular crimes that she's giving evidence

       13       of to the magistrate judge.

       14            Here the phone, just like any other computer device,

       15       would clearly be a receptacle.

       16            And this again, talking about a common-sense totality

       17       of the circumstances review, is deferential to the

       18       magistrate who issued the warrant.       And through that lens

       19       it's clear that the magistrate had a basis to find that

       20       nexus between all of that information that was posed to him,

       21       would be potentially found in any one of those digital

       22       devices.

       23                  THE COURT:   The bottom line is that the evidence

       24       that you want to preserve was what was found on phone,

       25       right?




                                        JA: 81
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        1                 MS. PARUTI:   So there's some -- I don't want to

        2       limit myself here today.     I will say that the phone is an

        3       important piece of the evidence, absolutely.

        4                 THE COURT:    That's the basis --

        5                 MS. PARUTI:   I think that if this case were to go

        6       to trial there would be -- so obviously the defendant is

        7       charged with producing child pornography.         And there was

        8       evidence that came from that phone that obviously the

        9       government would use in its case-in-chief.

       10            Some of the other evidence that was found, so, for

       11       example, looking at defendant's unauthorized use or access

       12       to Minor A's Apple account, that sort of falls into the

       13       relevant conduct realm I would say.

       14                 THE COURT:    That would show a suspicious

       15       overinvolvement with minors, but here the puzzle for me in

       16       this case, and maybe I'm just missing something that's

       17       terribly obvious, why didn't the police just investigate the

       18       indecent assault and battery?       It would make so much sense

       19       that --

       20                 MS. PARUTI:   So I understand that question, and I

       21       don't know that I can answer it, but I can tell you that you

       22       don't need to answer that question because --

       23                 THE COURT:    I agree, but it's just one of those

       24       great elephants in the room that I can't --

       25                 MS. PARUTI:   I don't have an answer to that.




                                         JA: 82
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        1            As the Court noted, you know, this became -- this is a

        2       case that the federal government adopted after this stage of

        3       the investigation had passed.       So I don't know the answer to

        4       that.

        5            Would that have added to this warrant?         Absolutely.     No

        6       question.   I share -- again, I share in the question that

        7       the Court is asking, but I think the important thing for us

        8       here today, for why we are here today, is whether or not

        9       even without that information this warrant was sufficient

       10       for the magistrate to issue it; that is, it was

       11       sufficiently -- it showed a substantial basis to believe

       12       that evidence of a crime would be found in the places

       13       designated in the warrant.     And that standard has been met.

       14       There is no question.

       15                THE COURT:     Going back to the phone.

       16                MS. PARUTI:    Yes.

       17                THE COURT:     The government's contention is that the

       18       phone was the defendant's.

       19                MS. PARUTI:    Hm-hmm.

       20                THE COURT:     So we are not putting forward a

       21       standing issue?

       22                MS. PARUTI:    No, no.     That's was the defendant's

       23       phone.

       24            One thing -- I will call it maybe a "misapprehension"

       25       rather than a "misstatement."       But one point of confusion is




                                         JA: 83
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        1       where -- or how defense counsel has a basis to say that the

        2       phone was taken from Mrs. Sheehan.       That is not in the

        3       paperwork.    The paperwork that was submitted connected to

        4       the warrant, so the return, says that it was with Nicole

        5       Sheehan.     A plain reading of that supports an inference that

        6       the police abided by the constricts of the warrants; that

        7       is, that they couldn't search other people present at the

        8       house.   It does not say it was taken from her.         It says it

        9       was with her.    I have no further information to believe that

       10       the police took Mr. Sheehan's phone off of or away from

       11       Mrs. Sheehan besides the defendant's speculation.             And I

       12       don't think that's proper for the Court to rely upon or

       13       engage in, frankly.

       14                  THE COURT:    Well, it makes it easier if I do not

       15       have to address the standing issue, if we all agree.

       16                  MS. PARUTI:   It's definitely his phone.       I can tell

       17       you that.

       18                  THE COURT:    Okay.

       19                  MS. PARUTI:   But I think even if it -- but I will

       20       say that truly whether it was his phone or her phone -- I

       21       think this goes to one of the other arguments that counsel

       22       was weaving into his presentation to the Court today when he

       23       was talking about the overbreadth of the warrant and

       24       faulting the government or the detectives in this case for

       25       not limiting their seeking of objects that belonged to the




                                         JA: 84
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        1       defendant.

        2            Clearly when we are talking about this type of

        3       materials, so digital material that could be stored or

        4       accessed with any type of digital device, as outlined in the

        5       attachment to the warrant and in the body of the warrant

        6       itself, ownership -- as long as the defendant has access to

        7       it, to have used it as an instrumentality of his crime or a

        8       as a place where evidence of his crimes might be found, it

        9       doesn't matter whether it was him who owned it or his son

       10       who owned it, or, for example, Nicole Sheehan, his wife, who

       11       owned it.

       12            That's an aside, but I wanted -- I think --

       13                THE COURT:     No, I agree --

       14                MS. PARUTI:    I wanted to address the record on that

       15       piece.

       16                THE COURT:     I agree with that, although the

       17       possessory interest is one of the elements of standing.

       18                MS. PARUTI:    Right.

       19                THE COURT:     But we're not talking about that.

       20                MS. PARUTI:    No, not for these purposes.

       21            So I don't know if the Court has any other questions

       22       about the probable cause aspect.

       23                THE COURT:     No.   As I said, I wasn't being critical

       24       of counsel the first time.

       25                MS. PARUTI:    Right.




                                        JA: 85
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        1                THE COURT:     You were very thorough.

        2                MS. PARUTI:    Right.

        3                THE COURT:     I have all the facts I need, and I

        4       agree that a lot of what happened in the state is relevant.

        5       I wanted to make sure we were arguing the right standard.

        6                MS. PARUTI:    I understand.

        7                THE COURT:     As much as I admire the state court and

        8       enjoyed my days there, I wear a different hat now.

        9            Okay, so unless you have something else, I would

       10       propose to take it under advisement.       This is going to

       11       take -- I can't do this in a day.       This is going to --

       12                MS. PARUTI:    I wouldn't -- I don't think anybody

       13       would expect you to, your Honor.

       14                THE COURT:     I'm going to have to go through this

       15       pretty carefully because there is a lot of material.

       16                MS. PARUTI:    That's fine.     That's fine.

       17            And I don't have anything outside of what was presented

       18       in writing to you.

       19            If I could have a second just to check my notes to see

       20       if there is anything?

       21                THE COURT:     Of course.

       22                MS. PARUTI:    Oh, one thing I did want to say is at

       23       one point during the defendant's argument he mentioned, when

       24       we were talking about overbreadth of the warrant, he

       25       mentioned something about a lack of a temporal limitation on




                                         JA: 86
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        1       the information to be seized or sought within the specific

        2       items that were seized.

        3            I may be mistaken, but I don't believe that that was

        4       raised in the filings.     So to the extent that that actually

        5       does become a concern for the Court, which I don't think it

        6       should be, but to the extent it does, if the Court believes

        7       that it needs more information from the government in the

        8       way of argument on that point, I would just ask for leave to

        9       file something about that later.

       10            Again, I don't think I need to.       I don't think it was

       11       addressed in the defendant's filings.       I think it wasn't

       12       addressed because it's not truly an issue here, so I don't

       13       believe that the Court needs to spend any time on that.            But

       14       I just wanted to flag that in case it does for some reason

       15       play a part in the Court's decision-making.

       16                THE COURT:     Understood, but I doubt that it will.

       17            (Pause in proceedings.)

       18                MS. PARUTI:    And I think -- I don't think that I

       19       need to say anything beyond what I have written with regards

       20       to the Franks issue, but again I'm happy to answer any

       21       questions on that point.

       22                THE COURT:     No.   It's not an issue that I find

       23       compelling.

       24            Mr. Keefe, would you like the last word?

       25                MR. KEEFE:     Your Honor, briefly.




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        1            So the cell phone at issue was taken from the person of

        2       Nicole Sheehan.   That comes from the search warrant return,

        3       your Honor, and if the United States is stating that that's

        4       not accurate or not true, I don't know if the Court --

        5                THE COURT:     I think they're saying that's true, or

        6       they're not contesting that, but, nonetheless, the phone was

        7       the defendant's regardless of where it was --

        8                MR. KEEFE:     Yes, but I thought I heard them argue

        9       that there's no evidence it was taken from her.          And if

       10       that's the case, I don't know if the Court would be inclined

       11       to have a short evidentiary hearing to find out where the

       12       phone was recovered.

       13                THE COURT:     If for some reason I start focusing on

       14       that -- in fact, there may be other issues.         If I think

       15       evidence is necessary, I will identify those for counsel.

       16                MR. KEEFE:     Thank you, your Honor.

       17            I didn't mention the good-faith exception, but I will

       18       rely on what I argued on the papers.

       19            Thank you.

       20                THE COURT:     Thank you.

       21            Counsel, again, I'm very apologetic about the delay.

       22                MS. PARUTI:    It's no problem.

       23                THE COURT:     I was sitting in the doctor's office,

       24       and he's running around, and there's nothing I can do.

       25                MS. PARUTI:    It's stressful enough.




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        1                THE COURT:     No.   It's just judges get to tell

        2       lawyers when to be someplace, but doctors get to tell

        3       everybody where to be.

        4            I will take the matter under advisement.

        5                MS. PARUTI:    That you, Judge.

        6                THE CLERK:     All rise.

        7            (Proceedings adjourned.)

        8

        9                             C E R T I F I C A T E

       10

       11            I, James P. Gibbons, Official Court Reporter for the

       12       United States District Court for the District of

       13       Massachusetts, do hereby certify that the foregoing pages

       14       are a true and accurate transcription of my shorthand notes

       15       taken in the aforementioned matter to the best of my skill

       16       and ability.

       17
                     /s/James P. Gibbons               April 25, 2022
       18               James P. Gibbons

       19

       20

       21
                               JAMES P. GIBBONS, CSR, RPR, RMR
       22                          Official Court Reporter
                                 1 Courthouse Way, Suite 7205
       23                        Boston, Massachusetts 02210
                                  jamesgibbonsrpr@gmail.com
       24

       25




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                                       UNITED STATES DISTRICT COURT
                                        DISTRICT OF MASSACHUSETT

        UNITED STATES OF AMERICA


        v.                                     DOCKET NO: 1:18-CR-10391-RGS


        DEREK SHEEHAN



        DEFENDANT’S MOTION FOR LEAVE TO FILE ADDITIONAL ARGUMENTS RELATED TO

             A PREVIOUSLY FILED MOTION TO SUPPRESS AND MOTION TO RECONSIDER


                The defendant asks that the Court consider additional evidence related to issues presented

        in a previously ruled upon Motion to Suppress. Specifically, the defendant asks that the Court

        reconsider additional arguments that the seizure of the iPhone from the person of Nicole Sheehan

        (Derek Sheehan’s iPhone - iPhone IMEI on SIM tray: 353002093386885) was not authorized by

        the first search warrant (Search Warrant 1858SW0035) and that the search of the same iPhone

        pursuant to the second search warrant (Search Warrant 1858SW0036) should be suppressed as

        fruits of the poisonous tree. The defendant submits as additional evidence his accompanying

        affidavit wherein he gives personal knowledge that police seized the iPhone from the person of

        Nicole Sheehan and that said seizure was beyond the scope of the first search warrant and that

        police appear to have searched his residence beyond the scope of the first search warrant. As

        part of this request the defendant respectfully asks for a hearing.

        The Defendant’s Affidavit

                The defendant’s accompanying affidavit states that on the morning of August 12, 2018 he

        was present in his house and asleep in his bedroom. The affidavit states further that the

        defendant’s wife answered the front door of the residence early in the morning of August 12,


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        2018, when police arrived with the first search warrant. The defendant states that police entered

        his bedroom and placed him under arrest. He states further that his wife was in possession of the

        black iPhone in question, and she re-entered their bedroom. The defendant observed a police

        officer forcibly take the black iPhone from Nicole Sheehan.

                The defendant makes additional assertions of fact relevant to the requests made in this

        supplemental pleading. Specifically, he made observations of police searching his boat, his car

        and his wife’s car. Upon his return to his residence after he was released from court and after the

        police searched his house, he observed that police appeared to have watched his personal family

        home videos during the time they searched his house on August 12, 2018. Specifically, in his

        office the defendant observed that his family home videos that were stored in a safe had been

        removed and were strewn about the floor. He observed that the videos had been viewed. He

        also observed his camcorder on the floor that had one of the videos cassettes inside the

        camcorder with the screen viewer open and in the playback mode.

                The Defendant asks that the Court reconsider arguments made in his previously filed

        Motion to Suppress. The defendant asks that the Court consider the additional information set

        forth in the defendant’s accompanying affidavit in reconsidering two previous arguments made

        in the defendant’s motion to suppress (Document 57) that was denied by the Court.


        I.    The Search Executed Pursuant to the First Warrant was Executed Overbroadly and
        Exceeded the Scope of the Warrant


        a.     The iPhone that is the Subject of the Second Warrant Must be Suppressed Because it was
        Seized from the Person of Nichole Sheehan and Such Search Was Not Authorized


                The Court should reconsider its prior order that the seizure of the iPhone from the

        defendant’s wife did not exceed the scope of the warrant. This Massachusetts state court search


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        warrant expressly did not authorize the search of persons present. See, Search warrant

        1854SW00035.. The evidence that police seized the black iPhone (IMEI on SIM tray:

        353002093386885) from the person of Nichole Sheehan is the officer’s search warrant return

        and the defendant’s affidavit attached hereto stating that he witnessed the seizure of this iPhone..

        Because the search of Nichole Sheehan was not authorized by the warrant, this iPhone and the

        fruits of the search of the iPhone must be suppressed. United States v. Abrams, 615 F.2d 541,

        550 (1980) (Campbell, J., concurring) ("It is clear that overzealous execution [of a search, as

        opposed to insufficient particularity in the warrant,] requires suppression only of any materials

        seized outside of the warrant's authority (and the fruits of any such improperly seized

        material)."). See United States v. Medlin, 842 F.2d 1194, 1198-99 (10th Cir.1988) (officers'

        "flagrant disregard" for terms of warrant renders entire search illegal).


                Here, the Court should reconsider its prior decision denying the defendant’s motion to

        suppress because Mr. Sheehan’s affidavit shows that a police officer obtained the iPhone at issue

        by searching the defendant’s wife and seizing it from her. The Court’s ruling on this issue was

        that the “execution of the warrant did not exceed its authorized scope as demonstrated by the

        items listed in the warrant return filed with the issuing court.” And adding that: “Sheehan has no

        standing to object to the seizure of an iPhone from his wife’s personal possession, if such a thing

        happened. See Rawlings v. Kentucky, 448 U.S. 98, 105 (1980)”.


                Leaving aside the issue of the defendant’s standing to object to the seizure of the iPhone

        from his wife, the search and seizure of his wife was contravened by the specific dictates and

        restrictions of this Massachusetts state court issued search warrant. And specifically, the

        warrant’s restrictions precluded the police from searching “any persons present”.



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                  The defendant reiterates arguments made on this issue in its previously filled motion to

        suppress and memorandum.


                  A warrantless search is per se unreasonable under the Fourth Amendment, unless one of

        "a few specifically established and well-delineated exceptions" applies. Arizona v. Gant, 556

        U.S. 332, 338 (2009) (quoting Katz v. United States, 389 U.S. 347, 357 (1967)) (internal

        quotation marks omitted). The warrantless search of Nicole Sheehan and ensuing seizure of the

        black iPhone from her person (alleged by the Government to be Derek Sheehan’s phone) was not

        supported by probable cause, nor was it supported by an exception to the warrant requirement.


                  The warrantless seizure of the black iPhone requires suppression of the iPhone and its

        fruits. Because the second warrant is based upon the warrantless search of the iPhone, all fruits

        of the second warrant, too, must be suppressed. See Wong Sun v. United States, 371 U.S. 471

        (1963).


                No good faith exception applies where these trained officers sought and were denied

        permission to conduct this exact search on the face of the warrant. The warrant expressly told

        these officers that they could not search persons present. Officers acting in good faith would

        have recognized the limits of the warrant and the lack of probable cause to conduct the search

        that was conducted. United States v. Crespo-Rios, 623 F. Supp. 2d 198 (D. P.R. 2009)

        ("reasonably well-trained officer" in the field, upon looking at this warrant, would have realized

        that the search for evidence of the crime of child pornography did not match the probable cause

        described).


                The defendant asks that the Court reconsider its prior ruling concerning the seizure of the

        iPhone at issue in light of the evidence set forth in the accompanying affidavit of the defendant.


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        b.    The Court should Reconsider its Order because Officers Seized Items From the Sheehan
        Home that Were Not Authorized by the Warrant


                The defendant asks also that the Court reconsider its decision that the police executed the

        warrant in an overly broad fashion and seized or searched items for which they had no authority.

        Specifically, the defendant states that police searched his home office and watched his family

        home videos on his camcorder device. The defendant reiterates his prior argument that the

        police went beyond the scope of the search warrant. "When investigators fail to limit themselves

        to the particulars in the warrant, both the particularity requirement and the probable cause

        requirement are drained of all significance as restraining mechanisms, and the warrant limitation

        becomes a practical nullity.” United States v. Woodbury, 511 F.3d 93, 97 (1st Cir.2007). Despite

        the specificity of the search warrant regarding the crimes that officers were investigating, files

        not pertaining to those crimes were opened and searched and should be suppressed. Additionally,

        police seized items that were not referenced at all in the application or warrant.


                 In United States v. Crespo-Rios, 623 F.Supp. 2d 198 (D.P.R. 2009), the Court confronted

        a factually similar case. The defendant communicated with an undercover agent pretending to be

        a twelve year old, and sent her “obscene material via his web cam.” Id. at 200. The officers

        obtained a broad search warrant to seize all of the defendant’s electronic media. This warrant

        permitted officers to look for evidence of possession of child pornography. During this search

        the police found child pornography, and the defendant was charged with possessing it. Id. The

        court suppressed the child pornography found and held as follows:


                 [I]n the affidavit, the Agent established probable cause to search for evidence of
                 seduction of children and/or transfer of obscene material to minors but also designed
                 and requested a search for evidence of an entirely different crime (child
                 pornography). Since the affidavit contained no allegation or suggestion of child
                 pornography, there was no probable cause for the parameters of the search to include
                                                                                                              5




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                such evidence. Thus, the search of Defendant’s digital media was unreasonable and
                in violation of the Fourth Amendment because the warrant did not authorize the
                forensic examination of Defendant’s digital media for evidence of child pornography.

        Id. at 203-04; see also United States v. Hodson, 543 F.3d286 (6th Cir. 2008).


                Because the first warrant affidavit provided no reason to believe that there would be

        pornography, whether adult or child, on Sheehan’s electronic media, evidence seized pursuant to

        these warrants, including all products of the second warrant which were found during the

        execution of the first warrant, must be suppressed. See Wong Sun v. United States, 371 U.S. 471

        (1963). Here, officers knew that there was no probable cause to search video files because none

        of the facts contained in the affidavit suggested that video files were a fruit or instrumentality of

        the crimes enumerated in the warrant application.


                The defendant’s affidavit provides additional evidence that the police went far beyond the

        scope of the search warrant issued to search Sheehan’s house. It appears that the police in their

        zeal to find evidence of child pornography, viewed multiple mini DV cassette tapes on the

        defendant’s camcorder device that turned out to be family home videos. This fact, if true should

        be compelling evidence for the Court to conclude after reviewing all of the search warrant

        material that the police went far beyond the scope of the search warrants dictates.


                As noted previously the police seized objects that were not objects of the search. The

        police seized three unopened bottles of Not Your Father’s Root Beer alcoholic beverages, one

        Stoker’s Wintergreen tobacco container, three cool cucumber JUUL cartridges, two cool mint

        JUUL cartridges, two JUUL devices, three and one quarter orange oval tablets in a prescription

        bottle with no label, one Samsung Galaxy cell phone, one label maker kit, and one black iPhone




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        case, and assorted paperwork (containing passwords, moving documents, assorted written notes).

        As argued previously these items were not the subject of the search warrant.


                As such, the execution of this warrant was overbroad and suppression of items seized

        pursuant to this warrant and its fruits is required, the defendant asks that the Court reconsider it

        prior decision denying his motion to suppress.




                                                       Respectfully submitted,
                                                       Derek Sheehan,
                                                       by his lawyer,

        Date July 2, 2021                              William Keefe
                                                       William Keefe
                                                       BBO # 556817
                                                       801C Tremont Street
                                                       Boston, MA 02118
                                                       Telephone: (617) 947-8483
                                                       Facsimile: (617) 445-8002


                                          CERTIFICATE OF SERVICE

                I, William Keefe, counsel for the plaintiff, hereby certify that on July 2, 2021, I did serve
        this document through the Court’s electronic filing system (ECF) on all persons so registered.

                Dated: July 2, 2021            /s/ William Keefe


                     CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 7.1(a)

        Counsel states that he has conferred with opposing counsel about this motion and Assistant
        United States Attorney Paruti opposes this request.

                                               /s/W. Keefe
                                               William Keefe




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                                                    JA: 96
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                                        UNITED STATES DISTRICT COURT
                                         DISTRICT OF MASSACHUSETT

         UNITED STATES OF AMERICA


         v.                                    DOCKET NO: 1:18-CR-10391-RGS


         DEREK SHEEHAN



                                          AFFIDAVIT OF DEFENDANT

         I, Derek Sheehan, on oath and affirmation state the following:

              1. I am the defendant in this case.
              2. On August 12, 2018, I lived at 1 Spring Brook Drive in Norwell, Massachusetts. I lived
                 at this address with my wife Nichole and our three children.
              3. At approximately 6:00 A.M. on this date I was asleep in my bedroom on the second floor
                 when I was awakened by my wife who told me that police are here. She then returned
                 downstairs and soon two police officers were in our bedroom and placed me under arrest.
                 My wife was present when I was being placed under arrest in our bedroom. I had asked a
                 police officer whether my wife could take our children out of the house and allow the
                 police to search the house. A trooper told me no.
              4. At this time, she was in possession of my iPhone. I asked my wife to call my lawyer. I
                 saw a police officer physically remove this iPhone from my wife’s person. This officer
                 grabbed my wife by the arm, twisted her arm and removed the phone from her hand.
              5. I was being escorted from my house I overheard police officers questioning my children
                 about whether they had phones or other electronic devices.
              6. I was escorted out of the house and placed in a police car. I remained in the police car
                 parked in front of my house for 20 to 30 minutes. During this time, I observed several
                 plain clothes police officers searching my boat that was parked in the yard next to my
                 driveway. I observed police officers searching my car and my wife’s car.
              7. I was taken to the Norwell police station. After I was driven to Barnstable District Court
                 in Barnstable. On the ride to the Barnstable District Court, I overheard a State Police
                 trooper say talk about the search warrant application process. I understood that the police
                 had gone to a Judge or Magistrate with the search warrant application and that this first
                 Judge or Magistrate had denied the search warrant; and that the police made changes to
                 the search warrant and brought it to a different judge or magistrate. At some point I
                 overheard the trooper state “The kid’s friend told us that there were security cameras at
                 my house and a server downstairs”.


                                                                                                           1




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            8. I was released from the Barnstable Court late in the afternoon of August 12, 2018. I
               returned home at approximately 6:00 P.M. At my house in the first-floor office, I
               observed a safe that I owned was opened. The safe had contained approximately 20
               mini-dv cassette tapes that contained home videos of my family. The mini-dv cassette
               tapes were strewn about the floor of the office. I looked at the mini dv cassette tapes and
               observed that everyone of them had been played and viewed. I know that prior to this
               morning, each mini dv cassette tape had been rewound to the beginning. In addition, a
               Canon HD camcorder I owned was also on the floor of the office with the screen viewer
               open and in the playback mode with one of the mini DV cassette tape inside the
               camcorder. It was clear that each of the mini DV cassette tapes had been viewed to some
               extent by police who searched my house on this date.

         Signed under the penalty of perjury on July 1, 2021.



                                                     /s/ Derek Sheehan
                                                     Derek Sheehan




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                                  UNITED STATES DISTRICT COURT
                                   DISTRICT OF MASSACHUSETTS

      UNITED STATES OF AMERICA,                   )
                                                  )
                    v.                            )        Docket No. 18-CR-10391-RGS
                                                  )
      DEREK SHEEHAN,                              )
                                                  )
                    Defendant.                    )


          GOVERNMENT’S OPPOSITION TO DEFENDANT’S MOTION TO RECONSIDER


             Now comes the United States of America, by and through Assistant U.S. Attorneys Anne

      Paruti and Charles Dell’Anno, and respectfully requests that this Court DENY the defendant’s

      Motion for Leave to File Additional Arguments Related to a Previously Filed Motion to Suppress

      and Motion to Reconsider (Doc. 115).

             The defendant has not offered any valid basis for the Court to reconsider its prior order

      denying the defendant’s Motion to Suppress. It is well-settled that “motions for reconsideration

      are appropriate only in a number of circumstances,” such as where there is newly-discovered

      evidence, an intervening change in the law, a manifest error in law, or a clearly unjust ruling.

      United States v. Allen, 573 F.3d 42, 53 (1st Cir. 2009). “A court will deny a motion for

      reconsideration based on the ‘new evidence’ exception if that evidence in the exercise of due

      diligence could have been presented earlier.” Id. (internal citations omitted). Motions for

      reconsideration are not to be used to “allow a party to advance arguments that could and should

      have been presented” the first time around. Id. Here, the defendant relies on a combination of

      certain arguments that he actually did present the first time around and certain additional facts

      concerning observations that he made at or around the time the warrant was executed – i.e.,

      “evidence” that could have been presented earlier.




                                                 JA: 99
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                The defendant’s original motion to suppress was well-briefed and well-argued; that does

         not change the fact that the defendant’s arguments were meritless. This Court assessed those

         arguments over two rounds of briefing and oral argument, denying the motion in a 20-page

         Memorandum and Order (Doc. 90). 1 Nothing in the defendant’s affidavit (Doc. 117) or Motion

         to Reconsider (Doc. 115) change the calculus. To the contrary, this Court already expressly

         rejected the defendant’s claim that the seizure of the iPhone was not authorized by the warrant,

         holding that “[t]he execution of the warrant did not exceed its authorized scope as demonstrated

         by the items listed in the warrant return filed with the issuing court.” Mem. and Order at 17. As

         such, the Motion for Leave to File Additional Arguments Related to a Previously Filed Motion to

         Suppress and Motion to Reconsider should be DENIED.



                                                             Respectfully Submitted,

                                                             NATHANIEL R. MENDELL
                                                             Acting United States Attorney

         Dated: July 6, 2021                         By:     /s/ Anne Paruti______________
                                                             Anne Paruti
                                                             Charles Dell’Anno
                                                             Assistant U.S. Attorneys
                                                             United States Attorney’s Office
                                                             One Courthouse Way
                                                             Boston, MA 02210
                                                             (617) 748-3100




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                 Fewer than three pages were dedicated to the assessment of the defendant’s motion for
         a Franks hearing, which is not at issue here.




                                                  JA: 100
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                                         CERTIFICATE OF SERVICE

         I, Anne Paruti, hereby certify that the foregoing was filed through the Electronic Court filing
         system and will be sent electronically to the registered participants as identified on the Notice of
         Electronic filing:


         Dated: July 6, 2021                                  /s/ Anne Paruti_______________
                                                              Anne Paruti
                                                              Assistant United States Attorney




                                                   JA: 101
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       07/08/2021   120 Judge Richard G. Stearns: ELECTRONIC ORDER entered denying 115
                        MOTION to Suppress Motion to File Additional Arguments Related to a
                        Previously Filed Motion to Suppress and Motion to Reconsider as to
                        Derek Sheehan. (Maynard, Timothy) (Entered: 07/08/2021)




                                          JA: 102
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                                     UNITED STATES DISTRICT COURT
                                      DISTRICT OF MASSACHUSETT

         UNITED STATES OF AMERICA



         v.                                   DOCKET NO: 1:18-CR-10391-RGS



         DEREK SHEEHAN




                                NOTICE OF APPEAL OF DEREK SHEEHAN


                Notice is hereby given that Derek Sheehan, the defendant in this case, hereby appeals to

         the United States Court of Appeals for the First Circuit from the denial of his Motion to Suppress

         Evidence Seized Pursuant to Search Warrants and Motion for a Franks Hearing; and from the

         judgment of conviction. These motions, and memoranda are docket entry numbers 57, 58, 82,

         and 115. The orders of the Court that the defendant appeals are dated January 28, 2020 and July

         8, 2021.

                                                      Respectfully Submitted,
                                                      Derek Sheehan,
                                                      By His lawyer,

                                                      /s/William Keefe
                                                      William Keefe
                                                      BBO#: 556817
                                                      801 C Tremont Street
                                                      Boston, MA 02118
                                                      Telephone (617) 947-8483
                                                      Facsimile (617) 445-8002
                                                      wkeefelaw@gmail.com




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                                                  JA: 103
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                                         CERTIFICATE OF SERVICE

                  I, William Keefe, lawyer for the defendant certify that on November 26, 2021, I served
          this document through the Court’s electronic filing system (ECF) on all persons so registered.


          Dated: November 26, 2021             Signed: /s/ William Keefe
                                                       William Keefe




                                                                                                           2




                                                  JA: 104
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                                    Certificate of Service

            I hereby certify that on October 11, 2022, I served a copy of the joint
       appendix, by first-class mail on the registered participants of the CM/ECF system.

                                                   /s/ Robert L. Sheketoff
                                                   ROBERT L. SHEKETOFF
                                                   Counsel for Derek Sheehan
